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              Excerpts from
         Don Juravin’s Individual
               Deposition
                (2/17/17)
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                             In the Matter of:

                   FTC v. Roca Labs, Inc., et al.

                         February 17, 2017
                      Don Juravin - Confidential
                               Vol. 3



                       Condensed Transcript with Word Index




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FTC v. Roca Labs, Inc., et al.                                                                                         2/17/2017
                                                                     405                                                          407
  1                                   I N D E X                             1   APPEARANCES FOR THE PLAINTIFF:
  2                                                                         2     CARL H. SETTLEMYER, III, ESQ.
        WITNESS                                              PAGE NO.             MICHAEL J. DAVIS, ESQ.
  3
          DON JURAVIN                                                       3     FEDERAL TRADE COMMISSION
  4                                                                               600 Pennsylvania Avenue, N.W.
                  By    Mr.    Settlemyer:                     409          4     Maildrop CC-10528
  5               By    Ms.    Marteny:                        601                Washington, DC 20580
                  By    Mr.    Settlemyer:                     613          5     1.202.326.2019
  6               By    Ms.    Marteny:                        620                csettlemyer@ftc.gov
  7                                                                               mdavis@ftc.gov
  8     EXHIBITS                 DESCRIPTION                PAGE NO.        6
  9       129                    Roca Labs Corp Filing        420           7
          130                    Zero Calorie Corp Filing     424           8   APPEARANCES FOR THE DEFENDANTS:
 10       131                    BOA Acct #3195               436           9     SUZETTE MARTENY, ESQ.
          132                    2011 Roca Labs Tax Return    440                 SHUMAKER, LOOP & KENDRICK, LLP
 11       133                    2014 Roca Labs Tax Return    443          10     101 E. Kennedy Boulevard, Suite 2800
          134                    2015 Roca Labs Tax Return    445
          135                    Zero Calorie Labs            456
                                                                                  Tampa, Florida 33602
 12
          136                    Roca Labs Acct #8933         459          11     1.813.229.7600
 13       137                    Juravin Inc.                 473                 smarteny@slk-law.com
          138                    BOA Acct #5833               473          12
 14       139                    2014 Juravin Tax Return      474          13
          140                    2015 Juravin Tax Return      477          14
 15       141                    Answer to Amended Complaint 478
          142                    Agreement of Services        487          15
 16       143                    Agreement of Services        487          16
 17                             CONFIDENTIAL EXHIBITS                      17
 18                           Exhibits 131-136, 142, 143                   18
 19                                                                        19
 20                       CONFIDENTIAL PORTIONS                            20
 21            Page 487, Line 5 through Page 495, Line 16
               Page 541, Line 4 through Page 549, Line 11
                                                                           21
 22            Page 560, Line 4 through Page 566, Line 16                  22
 23                                                                        23
 24                                                                        24
 25                                                                        25

                                                                     406                                                          408
  1                     UNITED STATES DISTRICT COURT                        1                  P R O C E E D I N G S
                         MIDDLE DISTRICT OF FLORIDA
  2                            TAMPA DIVISION                               2                          - - -
  3                    CIV No. 8:15-cv-02231-MSS-TBM                                    MR. SETTLEMYER:    We are here today for the
  4
                                                                            3
         FEDERAL TRADE COMMISSION,                                          4      deposition of Defendant, Don Juravin, in his
  5
                       Plaintiff,                                           5      individual capacity and per agreement of
  6                                                                                parties yesterday for purposes of some
         vs.                                                                6
  7                                                                         7      follow-up and additional questioning on the
         ROCA LABS, INC., a corporation;
  8      ROCA LABS NUTRACEUTICAL USA, INC.,                                 8      30(b)(6) deposition of Muscular Obesity Co.,
         a corporation; MUST CURE OBESITY, CO.,
         a corporation; JURAVIN INCORPORATED,                               9      Roca Labs, Inc. and Roca Labs Nutraceutical.
  9
         a corporation; ZERO CALORIE LABS, INC.,                           10      Mr. Juravin is here also as necessary in his
 10      a corporation; DON JURAVIN, individually
         and as an office of Roca Labs, Inc.,                              11      capacity as representative for those
 11      Roca Labs Nutraceutical USA, Inc.;
         Must Cure Obesity, Co., and Juravin,                              12      corporations.    I will try to when I'm asking a
 12      Incorporated; and GEORGE WHITING,                                 13      question of him as a corporate representative,
         individually and as an officer of Roca
 13      Labs, Inc., Roca Labs Nutraceutical                               14      state that clearly on the record so we can keep
         USA, Inc., and Zero Calories Labs, Inc.,
 14                                                                        15      track of that to the extent there's any
                  Defendants.                                              16      difference between what his individual and
 15      _________________________________________/
 16                                                                        17      corporate answer might be.
                        DEPOSITION OF DON JURAVIN
 17                                                                        18           Mr. Juravin, why don't we have you sworn
                   Taken on Behalf of the Plaintiff                        19      in and we'll do introductions after that.
 18
 19        DATE TAKEN:          Friday, February 17, 2017                  20           (Thereupon, the witness, DON JURAVIN, was
 20        TIME:                9:45 A.M. - 5:14 P.M.
 21        PLACE:               101 E. Kennedy Boulevard                   21      duly sworn under oath and testified as
                                Suite 2800                                 22      follows:)
 22                             Tampa, Florida 33602
 23                                                                        23           MR. SETTLEMYER:    I'm Carl Settlemyer.   I'm
       STENOGRAPHICALLY REPORTED BY:
 24    Tracy Lyn Fazio, FPR                                                24      an attorney for the Federal Trade Commission.
       Notary Public, State of Florida                                     25      With me is Mike Davis, another attorney for the
 25


                                                                                                               1 (Pages 405 to 408)
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  1       Federal Trade Commission.                            1   testimony for reasons relating to medicine or any
  2           MS. MARTENY: I'm Suzette Marteny. I'm an         2   other factor that would impair your ability to
  3       attorney for the Defendants and I'm here with        3   testify truthfully?
  4       Don Juravin.                                         4       A I'm not more delusional than normally.
  5               DIRECT EXAMINATION                           5       Q So the answer is no?
  6    BY MR. SETTLEMYER:                                      6       A The answer is no.
  7       Q Good morning, Mr. Juravin.                         7       Q Do you have any illness or hearing problem
  8       A Good morning.                                      8   that would prevent you from hearing any of the
  9       Q I know you have of course been deposed             9   questions or answers?
 10    previously in this case, including yesterday. So       10       A Selective sometimes, but normally okay.
 11    I'm going to be probably repetitive in what I'm        11       Q But physically you're fine?
 12    asking you to acknowledge in terms of general          12       A Physically fine.
 13    instructions of the deposition.                        13       Q And you understand the instructions I've
 14           First of all, I noticed that your voice is      14   just given you, right?
 15    fairly weak today. We will try to go slowly enough     15       A Yes.
 16    that you can give an answer so that the court          16       Q I know we've talked before, but I'll ask
 17    reporter can hear you.                                 17   again. Your primary language in business dealings
 18       A I'm fine. I'm fine.                               18   is English; is that correct?
 19       Q So you understand of course you have taken        19       A Yes.
 20    an oath to tell the truth, correct?                    20       Q I know that you were not born in the
 21       A Yes.                                              21   United States and that you also speak Hebrew; is
 22       Q I'm going to try to finish my questions           22   that correct?
 23    before you begin your answer. And I'll try to let      23       A Yes.
 24    you finish your answer before I ask my question.       24       Q Is that your first language?
 25    You will need to answer audibly with words, not nods   25       A I speak Hebrew. Hebrew and German. But

                                                       410                                                         412
  1    or uh-huhs. Do you understand?                          1   English is now my main one.
  2        A Yes.                                              2      Q How long ago did you first learn English?
  3        Q If you don't understand a question, please        3      A Learn?
  4    tell me. And if you answer, I'll assume you             4      Q Just generally when did you learn to
  5    understood. Do you understand?                          5   speak --
  6        A Yes.                                              6      A Generally we learn English from the age of
  7        Q If you hear your attorney make an                 7   five.
  8    objection to a question, you should go ahead and        8      Q So it's most of your life then?
  9    answer the question unless it is about a matter of      9      A Yeah. It's just that I'm lacking on
 10    privilege. And in that case, she will instruct you     10   vocabulary when I compare myself to people like you.
 11    not to answer and we'll discuss the appropriateness    11   So I'm missing the vocabulary.
 12    of an answer. Otherwise, she will make an objection    12      Q What is your current residential address?
 13    and you will need to just answer the question.         13      A Redacted
 14        A Okay.                                            14      Q Mount Verde?
 15        Q If later in the deposition you remember          15      A Mount Verde, yes.
 16    additional information or want to clarify an answer,   16      Q In Florida?
 17    you can tell me. Do you understand?                    17      A Yes.
 18        A Yes.                                             18      Q What was your residential address prior to
 19        Q And if you need a break, you can just ask.       19   that?
 20    As long as we're not in the middle of a pending        20      A In Sarasota. In Sarasota it was Roberts
 21    question, we should be able to accommodate that. Do    21   Point Circle and the zip code was 34242-3914.
 22    you understand?                                        22      Q And what was your residential address
 23        A Yes.                                             23   prior to the Sarasota address?
 24        Q Is there any reason today that you can't         24      A We playing memory games now? I don't
 25    proceed with the deposition to give your best          25   remember the number, but it was Americana Drive in


                                                                                                 2 (Pages 409 to 412)
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  1    Tampa, 33603.                                           1   years ago. I lived in the U.S. And then maybe
  2        Q So you moved to the Mount Verde, Florida          2   about 1990 or something, I can't remember exactly, I
  3    address at the end of 2015; is that correct?            3   went to Israel for a trip and ended up staying there
  4        A Yes.                                              4   much, much longer inventing things, doing things,
  5        Q How long were you living at the Sarasota          5   coming back to the U.S. in 2009. And for me coming
  6    address before you moved?                               6   back in 2009 was like everything was like new again.
  7        A I think four years.                               7   Because no credit history at all. Zero credit
  8        Q How long were you living at the Tampa             8   history. Everything from scratch.
  9    address before the Sarasota address?                    9       Q And you've resided in the United States
 10        A I think three or four years.                     10   since 2009 to the present, that's correct?
 11        Q Is your residential address for those            11       A Yes.
 12    different years, has that been your primary business   12       Q When you came back to the United States in
 13    address?                                               13   2009, you were already -- to pick up on your
 14        A For purposes of getting mail. But even if        14   testimony from yesterday, you had already been
 15    we have a warehouse, I'm still using the old address   15   selling a product working on what you described as
 16    to receive mail.                                       16   an invention. Can you describe what it is that you
 17        Q In terms of just your own administrative         17   invented in Israel and started working on even
 18    personal work that's not related to a warehouse, you   18   further when you were in the U.S.
 19    have used your residential address as the place        19       A Yes. First I didn't sell anything in the
 20    where you've conducted business?                       20   U.S. I was just inventing it in Israel, selling
 21        A Yes. Myself, yes.                                21   some in Israel. And then in the U.S. I wanted to
 22        Q I understand that at a certain point in          22   continue with it. Basically it's a method, a
 23    recent years you changed your name. What have you      23   regimen to achieve a healthy weight without
 24    changed your name from and to legally?                 24   undergoing bariatric surgery.
 25        A I added -- I just added the middle name to       25       Q When you came to the U.S., you --

                                                       414                                                          416
  1    Karl because of my grandfather.                         1       A Came back.
  2       Q But your given name was originally I               2       Q -- at a certain point met a man named
  3    believe Don Addie Juravin?                              3   George Whiting; is that correct?
  4       A Addie was my middle name in Israel. And I          4       A Yes. You mean came back?
  5    changed it to Karl because of my grandfather. He's      5       Q I'm sorry. When you came to the U.S. in
  6    a Holocaust, from the Holocaust. So I change it.        6   2009.
  7    That's it. I did it in court.                           7       A Yes.
  8       Q Do you recall what year that was that you          8       Q Yes. You met George Whiting, correct?
  9    changed your name legally?                              9       A Yes.
 10       A The middle name? I will guess 2013 maybe.         10       Q How did you meet Mr. Whiting?
 11    I don't know. It was done in court and over a long     11       A We pass Valentine. Somebody introduced us
 12    period.                                                12   and that's all I remember.
 13       Q So some of the records we talked about            13       Q Do you remember talking to him about the
 14    yesterday when you were appearing on behalf of the     14   possibility of starting a business to market your
 15    corporations and we may look at today would have the   15   invention?
 16    name Don Addie Juravin and others would have Don       16       A It didn't start like this. I don't
 17    Karl Juravin?                                          17   remember exactly how it started. But I told him
 18       A Same.                                             18   that I have ideas. I have inventions. I want to do
 19       Q And they're both you, correct?                    19   business. But I don't like and I cannot run a
 20       A Right.                                            20   business well. And I thought I'm not familiar
 21       Q When did you most recently move to the            21   enough with business, how to run a business in the
 22    United States? I understand you lived in Israel        22   U.S. Not even how to start a company. Things that
 23    when you were much younger.                            23   seem today very easy and trivial that I was lost and
 24       A I'll help you out. I came to the U.S.             24   I didn't want to take the time to do it. My offer
 25    when I was about 23, and I became a citizen about 30   25   to him was, it's your business. You run it. I put


                                                                                                3 (Pages 413 to 416)
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  1    the content in it. You're the manager. I mean,          1   to have independent contractors work for it.
  2    you're the boss. You're everything. If you don't        2       Q Dr. Whiting is George Whiting; is that
  3    like something that I do, don't work with me            3   correct?
  4    anymore. I will be a good soldier. I will follow.       4       A I'm sorry. Yes. I'm not sure that in the
  5    And then we started working and that's it.              5   beginning Zero Calorie Labs had the purpose of being
  6       Q What did you tell him about the invention          6   like an HR. I don't remember what it was in the
  7    and the type of business that you wanted to start?      7   beginning.
  8       A Not much in the beginning. He more --              8       Q HR meaning human relations, hiring
  9    than my personality. Only a year later when he          9   personnel?
 10    learned to work with me and he learned about the       10       A Human Resource.
 11    business. But at first he just knew that I'm a         11       Q Human Resources. Okay. Thank you.
 12    creative guy capable of doing business. But we         12       A If it was relations, it would have nothing
 13    didn't go into details. He didn't check on the         13   to do with me.
 14    invention or anything like that.                       14       Q So at the time Roca Labs, Inc. was formed,
 15       Q When did you first meet Mr. Whiting?              15   was there already a product ready to sell?
 16       A Almost as soon as I came off the boat.            16       A No. No.
 17       Q So it would have been in 2009 at some             17       Q What year did Roca Labs, Inc. first start
 18    point?                                                 18   selling anything to the public?
 19       A Yes.                                              19       A Maybe 2010, I think.
 20       Q What steps did you and Mr. Whiting take           20          (Thereupon, Plaintiff's Exhibit No. 129
 21    after meeting when you were starting the business to   21       was marked for identification.)
 22    start bringing the invention to market?                22       Q Mr. Juravin, could you take a look at
 23       A It wasn't like this like -- it wasn't like        23   Exhibit 129, and let me know if you recognize it,
 24    the main thing is the invention. I basically told      24   please. While you're looking at that, I want to
 25    him, listen, I'm a creative guy. I know how to do      25   just go on the record and say we're starting with

                                                       418                                                         420
  1    business. I know how to do marketing. I need            1   No. 129. We're continuing the numbering sequence
  2    somebody to run the company. I need somebody to own     2   from the 30(b)(6) deposition that was commenced on
  3    the company. I need somebody to balance decisions       3   Wednesday and continued through yesterday.
  4    with me. And it wasn't necessarily just the Roca        4       A I don't know what it is. I mean, it looks
  5    Labs. It wasn't -- it came about only a year later      5   like corporate papers, but I don't really know what
  6    that I said this is what I want to focus on.            6   it is.
  7       Q A year later would have been 2010; is that         7       Q Look at the fourth page of Exhibit 129,
  8    correct?                                                8   please.
  9       A Maybe, yes.                                        9       A I'm there.
 10       Q So at a certain point a business called           10       Q You'll see that there was an August 5,
 11    Roca Labs, Inc. was created, correct?                  11   2009 addition of the bottom of Don Juravin as the
 12       A About 2009 -- '10. That's when we really          12   Vice-President. Do you see that?
 13    started.                                               13       A Yeah, I see that.
 14       Q Who picked the name Roca Labs?                    14       Q Do you agree that you were added as
 15       A I did.                                            15   Vice-President to Roca Labs, Inc. at the time?
 16       Q Roca Labs, Inc. was incorporated at that          16       A No, I wasn't aware of it. And I think
 17    point, correct?                                        17   only with Roca Labs, the only time that I don't know
 18       A Yes.                                              18   even how it came about that Dr. Whiting was not
 19       Q There was another business created in             19   available to me like 2013, when his situation
 20    around that time called Zero Calorie Labs, Inc.,       20   deteriorated. I asked him to make me assignee and
 21    correct?                                               21   we did it I think in the corporate office maybe in
 22       A Yes.                                              22   2013 for a short period of time. But I am not aware
 23       Q What was the purpose of Zero Calorie Labs?        23   that I was even added here. This is not to say that
 24       A Dr. Whiting didn't want to have any               24   I was not involved in the company. But I was not
 25    employees in Roca Labs. And Zero Calorie Labs were     25   assignee or I was not --


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                                                      425                                                         427
  1    up with ideas and George will say, yes, no. If he      1      A Yes.
  2    says no, I can one time try to say why I think. And    2      Q You were personally responsible for the
  3    then whatever -- he has the final say.                 3   advertising content of Roca Labs, Inc., correct?
  4        Q But you think you came up with the name          4      A Yes.
  5    Zero Calorie Labs; is that right?                      5      Q You were personally responsible for
  6        A Yes, I think so.                                 6   research and development related to the products
  7        Q So in terms of the activities of Roca            7   Roca Labs sold, correct?
  8    Labs, Inc., were you personally in charge of           8      A Yes, but not under -- everything to do
  9    selecting which individuals would perform work on      9   with formulation. It was me doing it for myself,
 10    behalf of the company?                                10   not for the company.
 11        A Yes.                                            11      Q But you were personally responsible for
 12        Q With respect to Zero Calorie Labs, Inc.,        12   the formulation of the products that Roca Labs sold,
 13    you were personally responsible for selecting who     13   correct?
 14    would be hired by or retained through contract by     14      A Yes.
 15    Zero Calorie Labs?                                    15      Q And you were personally responsible for
 16        A Yes.                                            16   determining what substantiation the company Roca
 17        Q What would you describe as the business of      17   Labs, Inc. had for the products it was selling,
 18    Roca Labs, Inc. as of the 2010 to 2011 time frame?    18   correct?
 19        A Promoting the same concept as earlier.          19      A Yes.
 20    Promoting the same concept as I mentioned earlier.    20      Q You were personally responsible for
 21    An alternative to a gastric bypass surgery. But we    21   finding supplies of ingredients for the Roca Labs
 22    weren't pinpointed so much then. It was more into     22   products, correct?
 23    the weight reduction. I didn't have still the guts    23      A Raw materials, yes.
 24    to say this can be a replacement.                     24      Q Raw materials. Okay.
 25        Q A replacement for what?                         25         You were personally responsible for

                                                      426                                                         428
  1       A For a bariatric surgery.                          1   agreements with venders, correct?
  2       Q What other activity of course would have          2       A I'm sorry. Raw materials for the most
  3    been selling products to consumers, correct?           3   part.
  4       A Yes.                                              4       Q Why do you caveat with "for the most
  5       Q Were you personally responsible for the           5   part"? Was somebody else involved with that?
  6    product formulas that were sold by Roca Labs?          6       A Yes. Because when you go to an FDA
  7       A Yes.                                              7   registered facility, you cannot just bring whatever
  8       Q You were personally responsible for the           8   you want. You can say this is what I want. But
  9    product ideas of Roca Labs, Inc.?                      9   then the importer needs to coordinate with the
 10       A Yes.                                             10   facility to see if the facility agrees, because the
 11       Q You were personally responsible for the          11   facility is obligated to the FDA. I can ask
 12    product packaging of Roca Labs, Inc.?                 12   anything I want. But they can say no because
 13       A Yes.                                             13   whatever reason.
 14       Q You were personally responsible for              14       Q But you were the one who would be saying
 15    managing sales by Roca Labs, Inc.?                    15   this is what I want; is that correct?
 16       A Yes.                                             16       A But I have the option to bind myself or I
 17       Q You were personally responsible for              17   tell them, this is what I want, you find it.
 18    product pricing for Roca Labs, Inc.?                  18       Q I just want to confirm. You're the one
 19       A Yes.                                             19   who did make that request of what it is that Roca
 20       Q You were personally responsible for the          20   Labs wanted to put into the product?
 21    retail channels Roca Labs, Inc. would use, correct?   21       A Yes.
 22       A Yes.                                             22       Q You were personally responsible for
 23       Q You were personally responsible for the          23   shipping the product for consumers. Not that you
 24    advertising media that Roca Labs, Inc. used,          24   personally did it, but were overall responsible for
 25    correct?                                              25   that?


                                                                                               6 (Pages 425 to 428)
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                                                        429                                                        431
  1        A Yes.                                              1        A Very general.
  2        Q And you were personally responsible for           2        Q But the answer is yes?
  3    again, in an oversight capacity, receiving the          3        A Yes, very general.
  4    shipments from your packagers or suppliers, correct?    4        Q Were you personally responsible for making
  5        A Not directly, but in general, yes.                5   sure that the Roca Labs products were compliant with
  6        Q You were personally responsible for               6   FDA guidelines?
  7    obtaining insurance for Roca Labs, Inc.?                7        A I relied on the facility. The assumption
  8        A George and I.                                     8   is when the facility gives it to me, they made sure
  9        Q You were personally responsible for               9   that everything -- I'm a marketer. I'm not a
 10    maintenance of any customer information submitted to   10   manufacturer. Roca Labs is not a manufacturer.
 11    Roca Labs, Inc.?                                       11   Roca Labs is a marketer.
 12        A Yes.                                             12        Q But you would be responsible for making
 13        Q You were personally responsible for              13   sure that the manufacturer was an FDA --
 14    overseeing responses to complaints from Roca Labs,     14        A Register.
 15    Inc. customers or issues that they had?                15        Q -- compliant facility?
 16        A Ultimately I'm responsible.                      16        A Not compliance, register. Because I don't
 17        Q Maybe not on a day-to-day basis, but             17   know if their in compliance. They're registered.
 18    overall you had oversight over that?                   18   Yes, once I chose them, my assumption was that I can
 19        A Yes.                                             19   ask them anything in the world. And if they allow
 20        Q In terms of banking, you controlled how          20   it, it means that the FDA allows it.
 21    Roca Labs, Inc.'s funds were spent on a day-to-day     21        Q Would you be -- were you personally
 22    basis, correct?                                        22   responsible for authorizing the filing of lawsuits
 23        A I had to follow guidelines of George. I          23   in the name of Roca Labs, Inc.?
 24    followed George's guidelines. But on a day-to-day,     24        A Yes.
 25    it was me.                                             25        Q Were you personally responsible for

                                                        430                                                        432
  1       Q So you were the one who was actually               1   overseeing the defense of lawsuits against Roca
  2    initiating any electronic fund transfers for            2   Labs, Inc.?
  3    example, correct?                                       3      A Yes.
  4       A Yes. If it falls within the guidelines             4      Q Did Roca Labs, Inc. ever have any Board of
  5    that George gave me, yes.                               5   Director meetings?
  6       Q You would be the one who wrote checks on           6      A I did not do that administrative of Roca
  7    the day-to-day basis for Roca Labs, Inc., correct?      7   Labs. So I would not know. That's the reason why I
  8       A Yes.                                               8   didn't want to run the company, because I'm failing
  9       Q You were responsible for determining               9   to do this administrative things, and that's why
 10    whether or not refunds would be given to Roca Labs,    10   George did it. I have no idea.
 11    Inc. customers, correct?                               11      Q Go through a similar list of questions,
 12       A I sent the general policy, but Sharon King        12   but for Zero Calorie Labs, Inc. to see what your
 13    would be the one that will make a decision             13   personal responsibility was.
 14    day-to-day without consulting me, without talking to   14      A Sure.
 15    me, without -- I just set the general guidelines.      15      Q You were personally responsible for
 16       Q Would you be generally responsible for            16   determining which people Zero Calorie Labs, Inc.
 17    addressing complaints submitted by Better Business     17   retained? I think you already testified, correct?
 18    Bureau?                                                18      A Yes.
 19       A No.                                               19      Q Were you personally responsible for
 20       Q Who would be?                                     20   initiating fund transfers from Zero Calorie Labs'
 21       A I never did. Sharon King. From now on I           21   bank accounts?
 22    will say Sharon. It means Sharon King.                 22      A Yes.
 23       Q Would Sharon King in responding to the            23      Q Were you personally responsible for
 24    Better Business Bureau complaints be following         24   determining how much people retained in the name
 25    general guidelines that you set?                       25   Zero Calorie Labs were paid?


                                                                                                7 (Pages 429 to 432)
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  1       A I didn't understand the word retained.             1       Q Were there any other signatories on this
  2    Did I determine how much they would be paid?            2   account?
  3       Q Yes.                                               3       A No.
  4       A Yes.                                               4       Q I'd like to have another document marked
  5       Q Were you the sole -- I'll get to that in a         5   as Exhibit 131.
  6    moment. Strike that.                                    6       A By the way --
  7       A I have a soul, yes.                                7       Q Wait, wait, wait.
  8       Q I hadn't gotten to the verb yet. Were you          8         MS. MARTENY: Put that one back.
  9    responsible for writing checks on behalf of Zero        9         THE WITNESS: I have a question.
 10    Calorie Labs?                                          10         MS. MARTENY: Wait.
 11       A Yes.                                              11         (Thereupon, Plaintiff's Exhibit No. 131
 12       Q Aside from being a Human Resources company        12       was marked for identification.)
 13    that worked on behalf of Roca Labs, are you aware of   13   BY MR. SETTLEMYER:
 14    any other clients of Zero Calorie Labs, Inc.?          14       Q Mr. Juravin, could you take a look please
 15       A I know that George wanted all along to do         15   at Exhibit 131.
 16    something with it for his own accounting purposes,     16       A Okay.
 17    and he talked about it a few times. I don't know if    17       Q Let me know if you recognize that
 18    he did something or if something was done. But Zero    18   document.
 19    Calorie Labs was supposed to do additional HR, I       19       A Not really.
 20    think for George and maybe other things.               20       Q Do you see your handwriting or signature
 21       Q Do you know if in fact Zero Calorie Labs          21   on the document anywhere?
 22    did do such activity for others?                       22       A No, I don't.
 23       A I don't know. I don't think so. But the           23       Q Look at the last page, page numbering 2245
 24    intent was to do.                                      24   at the bottom?
 25           MR. SETTLEMYER: Take a two minute break.        25       A I do see that George opened the account

                                                        434                                                       436
  1       I'm going to pull out some documents.                1   and allowed me to be assignee.
  2          (A brief recess.)                                 2       Q So this is -- let me just state what I
  3    BY MR. SETTLEMYER:                                      3   think this is and you can tell me if you agree.
  4       Q Mr. Juravin, I've just handed you a                4   This is a set of Bank of America documents for Zero
  5    document that was marked previously as Exhibit 16.      5   Calorie Labs, Inc., and includes a last page, a
  6    Take a look at Exhibit 16, please.                      6   corporate signature card for an account ending 3195
  7       A Yes.                                               7   for Zero Calorie Labs, Inc. Do you agree?
  8       Q Are you familiar with Exhibit 16?                  8       A Yes.
  9       A Looks like my signature.                           9       Q And you agree this made you a signatory
 10       Q This is a -- correct me if I'm wrong, a           10   for the Zero Calorie Labs, Inc.?
 11    signature card for Bank of America account for Roca    11       A Yes.
 12    Labs, Inc. for an account ending 3550, correct?        12       Q You were the only signatory on the Zero
 13       A Yes.                                              13   Calorie Labs, Inc., correct?
 14       Q You submitted this signature card,                14       A I don't know. I see only my name. I see
 15    correct?                                               15   that George Whiting opened it. In other words,
 16       A Yeah. But why October 2006?                       16   George Whiting can at any minute close the account
 17       Q Are you looking at the second page of the         17   and take the money. So in other words, my
 18    document?                                              18   understanding is that he controls the account, but
 19       A Yeah. Okay.                                       19   I'm the one that can work with the money.
 20       Q Is the date there the date that the shelf         20       Q Are you aware of anybody else who was a
 21    corporation that came Roca Labs, Inc. was created?     21   signatory on the Zero Calorie Labs account?
 22       A Maybe, yes. Thank you.                            22       A Day-to-day it was only me. And that's why
 23       Q But you personally submitted this                 23   number 16 is a little bit surprising to me, because
 24    signature card?                                        24   it should be like 17, like 21. That's why I'm
 25       A Looks like my signature, yes.                     25   missing something here that basically says that


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  1    always George opened the account and decided if --     1      A George.
  2    and I'm the signature -- what do you call it?          2      Q So anything that would have been revenue
  3       Q Signatory.                                        3   for Roca Labs, Inc. in 2010 then you would have
  4       A Yes. It's not here and I don't                    4   given Mr. Whiting the documents that reflected all
  5    understand.                                            5   that revenue, correct?
  6       Q Let me just be clear about what you've            6      A Yes. I'll help you out. I don't even
  7    said about Exhibit No. 131. To the best of your        7   know how to read it. I just learn the word
  8    knowledge, you were the only signatory on that Zero    8   advertisement, because I'm trying to sum up the
  9    Calorie Labs account, correct?                         9   advertising. I really don't know the rules, the
 10       A Yes.                                             10   laws, anything to do with text.
 11       Q What you're saying about the Bank of             11      Q I'm going to ask you some just specific
 12    America Roca Labs, Inc. account ending in 3550 is     12   questions about the revenue for the different years.
 13    that to the best of your knowledge, you were the      13      A For the record, I'll read it to you, but I
 14    only signatory on that account; is that correct?      14   absolutely don't understand about it.
 15       A Yes. But the deal with George in the             15      Q I'm going to ask you whether you believe
 16    beginning, before he learned to trust me, which was   16   that for 2010, was there any revenue for Roca Labs,
 17    about 2011, '12, '13, he said at any time if he       17   Inc. that was not reflected on the 2010 tax return?
 18    doesn't like something, he can close the account.     18      A I would not have any idea. I can tell you
 19    And I don't see the number 16.                        19   that we thought money to the company and I know
 20          (Thereupon, Plaintiff's Exhibit Nos. 132,       20   comes only from credit cards. There is no cash
 21       133 and 134 were marked for identification.)       21   deals. There is no store. There is no benefits.
 22       Q I have some documents marked as Exhibits         22   I'm not familiar with anything like that. So every
 23    132, 133 and 134. Mr. Juravin, could you please       23   penny that we have must come from 1099. And the
 24    look at Exhibits 132, 133 and 134. And I'm also       24   1099 must reflect here. One year it did not
 25    going to hand you two other exhibits that go with     25   reflect. We were off by about 60 or 70,000. The

                                                      438                                                         440
  1    these that I'll bring over in just a moment that       1   IRS send us something. We got a penalty. And
  2    were marked yesterday. Give back to you three of       2   George learned a lesson to look at 1099, and not to
  3    the exhibits, Exhibit 6, 28 and 29. I'll hand you      3   the bank account.
  4    those. While you're looking at those, I'm going to     4        Q Well, let me ask you this. In terms of
  5    take a two minute break, please.                       5   your understanding of what you gave to Mr. Whiting,
  6           (Thereupon, a brief recess was held off         6   did the documents that you gave to Mr. Whiting
  7        the record and the proceedings continued as        7   reflect all the revenue that Roca Labs, Inc. earned
  8        follows:)                                          8   in 2010?
  9    BY MR. SETTLEMYER:                                     9        A I don't think I even give it to him,
 10        Q Mr. Juravin, you had a chance to look at        10   because he got a 1099 or took the 1099 on his own.
 11    the exhibits that I handed you a few minutes ago?     11   He has access to the bank account. Always he has
 12        A 1.5 minutes, yes.                               12   access to the bank account. So I don't do much.
 13        Q I'm going to ask you generally. Are you         13        Q So is there any revenue for Roca Labs,
 14    personally familiar with the revenues that Roca       14   Inc. in 2010 that was not reflected on the 1099's
 15    Labs, Inc. took in between 2010 through 2015?         15   that were submitted for 2010?
 16        A For the record, I'm Jewish. We look only        16        A Not possible.
 17    at profits. Seriously, no, I'm not.                   17        Q So the answer is no?
 18        Q You're not familiar with the revenue            18        A The answer is not possible. It's, yes,
 19    stream for Roca Labs, Inc. for 2010 to 2015?          19   it's always there.
 20        A You just added the word stream. This is         20        Q All of it is reflected in the 1099?
 21    the bottom line numbers. I never deal with it. I      21        A Must, yes. To the best of my knowledge
 22    never -- I just provide them with all the             22   that's the way it works.
 23    information. They process -- they write whatever      23        Q So for 2011, is there any revenue for Roca
 24    they write.                                           24   Labs, Inc. that is not reflected on the 2011 tax
 25        Q By them, who do you mean?                       25   return marked as Exhibit 132?


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  1        Q Thank you for clarifying that. Let's look         1   some more, please do. But what's your current best
  2    at Exhibit 134 for the Roca Labs, Inc., 2015 tax        2   estimate of the total advertising expenditures by
  3    return. And you agree that this is Roca Labs,           3   Roca Labs, Inc. from 2010 to 2015?
  4    Inc.'s 2015 tax return, correct?                        4      A About $12 million.
  5        A That's what I see. It's gibberish to me.          5      Q You think the advertising expenditures for
  6        Q I just want to make sure that the record          6   Roca Labs, Inc. over the course of 2010 through 2015
  7    is clear that we're all looking at the same document    7   was $20 million?
  8    when I ask the question.                                8      A Twelve.
  9           Are you aware of any revenue other than          9      Q $12 million. Okay, thank you. I'm sorry,
 10    what's shown on this 2015 tax return that Roca Labs    10   I couldn't hear you.
 11    received in 2015?                                      11      A It's me. Yes, 12.
 12        A No, I don't.                                     12      Q Now of the money that was received as
 13        Q And, again, the overwhelming majority of         13   revenue from Roca Labs, Inc. from 2010 to 2015, if
 14    any revenue received by Roca Labs, Inc. in 2015        14   12 million was for -- roughly was for advertising
 15    you're saying would be reflected on the 1099 from      15   expenditures, what's your understanding of what the
 16    card processors, correct?                              16   breakdown was of the remaining?
 17        A Yes.                                             17      A Twelve. 24 minus 12.
 18        Q Other than that, there's no income aside         18          MS. MARTENY: Listen. Not the amount of
 19    from maybe these one off checks from customers that    19      the remaining.
 20    would be -- have been received by Roca Labs in 2015;   20   BY MR. SETTLEMYER:
 21    is that right?                                         21      Q Let's go this way. What is your -- let's
 22        A Yes. My numbers from yesterday were not          22   do the math. What do you think the total revenues
 23    off; the advertisement.                                23   were based on your review just now of Roca Labs,
 24        Q Sounds like you're clarifying some               24   Inc. from 2012 through 2015?
 25    testimony from yesterday. Do you want to elaborate?    25      A I think the number was 24 or 27 million.

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  1        A I'm just saying that my gut feeling was           1      Q Did you just do a calculation?
  2    right, that it's about 35, 40 percent advertisement     2      A I count up the money that we spend. But
  3    versus revenues.                                        3   you provided in the claim the number of about 25, 24
  4        Q So if we looked at total revenues of Roca         4   point something.
  5    Labs, Inc. over the entire period of 2010 through       5      Q So would you then estimate that there was
  6    2015, approximately 35 percent of those revenues --     6   a remaining 12 million that was not spent on
  7        A More.                                             7   advertising for Roca Labs, Inc.?
  8        Q Or more?                                          8      A Correct.
  9        A About more. Because I know more expenses.         9      Q So how much of that $12 million that was
 10    I know the numbers day-to-day.                         10   not spent on advertising did you personally receive
 11        Q Let me just finish so we got a clear             11   from Roca Labs in the years 2010 through 2015 in
 12    record. So about 35 percent of the total revenue       12   whatever capacity that you personally received?
 13    for the 2010 through 2015 revenue period for Roca      13      A My guess was like yesterday, about seven.
 14    Labs would be advertising expenditures?                14      Q How would you derive a concrete number
 15        A My guess, yeah. Rough, the numbers, yes.         15   about that if you wanted to come up with a
 16    It's more than that.                                   16   definitive answer?
 17        Q So Mr. Juravin, you're making this current       17      A Let me start with the bottom.
 18    statement about your recollection of what the          18      Q Okay.
 19    advertising revenue for -- I'm sorry -- the            19      A And the bottom has two meanings. I am in
 20    advertising expenditures for Roca Labs, Inc. based     20   the bottom.
 21    on your review today of these tax returns we've just   21      Q I'm sorry. Say that again, please.
 22    looked at, correct?                                    22      A I said let's start from the bottom.
 23        A Yes.                                             23      Q Okay.
 24        Q And what is your current best estimate --        24      A Because I am in the bottom.
 25    and if you need to take a minute to think about it     25      Q Okay.


                                                                                               11 (Pages 445 to 448)
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  1        A It's not okay. I have zero now. I lost            1   on the record about what the meaning of the document
  2    about $5 million I think -- no, about six or            2   is. So I'm not going to belabor that.
  3    $7 million in the stock. I have zero now.               3          Mr. Juravin, you testified previously
  4    Actually, I'm in the minus of 800,000. I'm in the       4   about your authorizing expenditures from Zero
  5    minus of 800,000.                                       5   Calorie Labs' bank accounts. I just want to ask
  6        Q I think you're not answering my question.         6   very specifically. Were you responsible for
  7    I don't want to cut you off because you're starting     7   authorizing expenditures from Zero Calorie Labs'
  8    off with how much money you have, and I want to just    8   bank account ending in 3195?
  9    make sure I understand how much Roca Labs               9       A Yes.
 10    transferred to you personally.                         10       Q And this was with Bank of America,
 11        A This is how I --                                 11   correct?
 12        Q If you want to think about that for a            12       A Yes.
 13    moment, just give me a bottom line number.             13       Q So any expenditures on individuals --
 14        A It's about seven. Because I spend every          14   payments to individuals listed in those bank
 15    year half a million dollars. I spend half a            15   accounts for services performed for Roca Labs, Inc.
 16    million. I had to pay tax, which I had to pay tax      16   are the ones that you would have authorized,
 17    of about a million per year. So when you do all of     17   correct?
 18    these numbers all together, I would guess that I       18       A I will authorize -- I will send them the
 19    received about the seven million. I lost about six.    19   payment.
 20    I lived off the rest. I have zero.                     20       Q Okay.
 21        Q I just want to make very clear that you          21       A But it doesn't mean that I know them or
 22    mean $7 million, correct?                              22   that I worked with them personally. As I mentioned,
 23        A Yes.                                             23   Sharon can tell me, you send the money to this guy.
 24        Q Since we're being formal and on the              24   I say, what is the bank account, and I will send.
 25    record.                                                25       Q But, yes, you were the one who would have

                                                       450                                                         452
  1        A Yes. So that's why I say from the bottom.         1   been responsible for hitting the button to authorize
  2    I think that's what I received.                         2   that?
  3           MR. SETTLEMYER: Pause for a moment. Get          3       A Yes.
  4        some more documents.                                4       Q Similarly, any payments to Google and
  5           (A brief recess.)                                5   Facebook that would have shown up in Zero Calorie
  6    BY MR. SETTLEMYER:                                      6   Labs' Bank of America account ending in 3195, you
  7        Q Mr. Juravin, I'm handing you a document           7   would have authorized those as well, correct?
  8    marked as Exhibit 15. Take a look at that for a         8       A Advertisement is not supposed to come from
  9    moment and tell me if you recognize Exhibit 15,         9   Zero Calorie Labs, number one. Number two, this is
 10    please.                                                10   something done automatically by the companies. It's
 11        A Yes, I do.                                       11   not that I'm -- it's not automatically. You give
 12        Q What is Exhibit 15?                              12   them the card. They take the money. You give them
 13        A Do you like the fact --                          13   the card and then they take the money, whatever they
 14        Q Tell me what you think the document is           14   take.
 15    without the explanation. I just want to get a clear    15       Q Let me ask the question. If there were
 16    record of what you think this is. Very simple          16   any expenditure to Google, Inc. from the Zero
 17    level.                                                 17   Calorie Labs Bank of America bank account ending in
 18        A Restructuring agreement between George and       18   3195, would you have been the one to have ultimately
 19    I.                                                     19   authorized that?
 20        Q I just want to confirm. You personally           20       A Yes. This is something that Whiting
 21    entered into this restructuring agreement with         21   probably will spank me for because it's not supposed
 22    Mr. Whiting; is that correct?                          22   to be.
 23        A Yes.                                             23       Q So even if it was incorrect from your
 24        Q Okay, that's all I want. We can put it           24   internal procedures to do it that way, that would
 25    away. That's it. I believe we have some testimony      25   still have been something you personally authorized?


                                                                                               12 (Pages 449 to 452)
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  1       A Yes. And it's incorrect from all                   1       A That's okay. Either is okay. Yes.
  2    procedures, not just from Whiting's.                    2   Either is okay.
  3       Q After the turn of 2013, there was a new            3       Q So for any -- why don't I go ahead just
  4    bank account opened for Zero Calorie Labs, Inc. at      4   for clarity and introduce this document as an
  5    Wells Fargo, correct?                                   5   exhibit.
  6       A Yes.                                               6          (Thereupon, Plaintiff's Exhibit No. 135
  7       Q Were you personally responsible for                7       was marked for identification.)
  8    authorizing expenditures from the Zero Calorie Labs     8          Mr. Juravin, I've had marked as Exhibit
  9    Wells Fargo account?                                    9   135 a document that you've just been handed. Can
 10       A Yes.                                              10   you take a look and tell me if you recognize Exhibit
 11       Q And, again, any payments authorized from          11   135, please.
 12    that account, you would have been personally           12       A We never met, but yes. Just a second.
 13    responsible for authorizing?                           13   Yeah.
 14       A Yes.                                              14          MS. MARTENY: The question is whether you
 15       Q Did Zero Calorie Labs make payments to            15       recognize it?
 16    individuals performing work for Roca Labs through      16          THE WITNESS: Yes.
 17    purchases of money orders from Wal-Mart?               17   BY MR. SETTLEMYER:
 18       A I'm not clear. Say it again, please. I            18       Q So what is Exhibit 135?
 19    don't think you worded -- you did not word it right.   19       A Looks like a bank statement for June
 20       Q I probably did not.                               20   through July.
 21       A We did not have money orders. But what            21       Q Well, there's several different statements
 22    you read is us sending money through Money Gram or     22   all together as a composite exhibit. Would you
 23    Western Union.                                         23   agree that they run from the June 20, 2012 period
 24       Q So let me ask the question.                       24   through December -- actually, there's not a
 25       A That's why I got confused. We don't have          25   consecutive set. But they include one going up

                                                       454                                                         456
  1    this.                                                   1   through January 2014.
  2       Q Then that may be more of a succinct way to         2      A Yes, I agree.
  3    put it. So Zero Calorie Labs would send payments to     3      Q These are all statements for Zero Calorie
  4    individuals who performed work for Roca Labs by         4   Labs, Inc. account; is that correct?
  5    using money grams?                                      5      A Yes.
  6       A I'm sorry, but you all the time saying             6      Q So would you agree that looking at as an
  7    that the work was -- they were contracted by Zero       7   example of a page marked at the bottom 1441 that I
  8    Calorie Labs, and the beneficiary was Roca Labs.        8   marked as a red flag that you can turn to, that
  9       Q But they did the work for the benefit of           9   expenditures from this account going to Facebook are
 10    Roca Labs?                                             10   expenditures that you personally authorized?
 11       A Yes.                                              11      A Yeah, and I see that Dr. Whiting was also
 12       Q The question is still Zero Calorie Labs           12   using it; that George also used it. And maybe I was
 13    would make payments to those individuals who worked    13   wrong earlier and he did authorize. And he did want
 14    for the benefit of Roca Labs, Inc.?                    14   to use this account for other purposes. So maybe I
 15       A Yes.                                              15   was wrong.
 16       Q Made them by money gram?                          16      Q But at least the expenditures for Facebook
 17       A Yes, Western Union.                               17   were for advertising for Roca Labs, correct?
 18       Q By Western Union as well. Thank you.              18      A Yes.
 19           In terms of Zero Calorie Labs'                  19      Q We're done with that one.
 20    expenditures, did Zero Calorie Labs have a -- in the   20      A And also for buying raw materials.
 21    2012 time frame a bank card that was used for          21      Q And you see -- what expenditure are you
 22    expenditures?                                          22   looking at there?
 23       A What is bank card? Debit or credit or             23      A Raw materials.
 24    either you mean?                                       24      Q What particular line are you talking?
 25       Q Or either.                                        25      A TIC Gums.


                                                                                               13 (Pages 453 to 456)
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  1       Q TIC Gums is a raw materials provider for           1   information regarding this case. I'm not doing
  2    Roca Labs, Inc.?                                        2   anything disrespectful.
  3       A Yeah.                                              3      Q You don't need to apologize to me. If it
  4       Q And that was an expenditure that you               4   becomes a distraction, I'll let you know.
  5    authorized as well, correct?                            5          Mr. Juravin, in 2013, did Roca Labs, Inc.
  6       A Yeah. We didn't buy bubblegum for                  6   open a bank account with Wells Fargo?
  7    $12,000.                                                7      A If you have something in your hands, you
  8           MS. MARTENY: We're done with that.               8   know better than me.
  9           THE WITNESS: Since I see that we used it         9      Q Well, tell you what --
 10       for business expenditure more than just HR, I       10      A Why would you make me guess?
 11       have to revise what I told you earlier. So          11      Q I'm asking your recollection. Why don't
 12       probably my memory did not serve me well, and       12   we simplify things by introducing exhibits.
 13       we did use it more extensively than I thought.      13      A By now you know how many bank accounts.
 14    BY MR. SETTLEMYER:                                     14          (Thereupon, Plaintiff's Exhibit No. 136
 15       Q By it you mean Zero Calorie Labs?                 15      was marked for identification.)
 16       A Yes.                                              16      Q Okay. Mr. Juravin, do you recognize the
 17       Q Let's take a look at a couple of exhibits         17   document that I marked as Exhibit 136?
 18    that we have previously been introduced. We're         18      A Yes. It looks like Roca Labs bank account
 19    going to look at Exhibits 18, 19 and 20 again.         19   relating to the period of 2013, and account ending
 20           Mr. Juravin, take a moment and just look        20   with 8933.
 21    through those three exhibits and tell me if you        21      Q With Wells Fargo, correct?
 22    recognize --                                           22      A With Wells Fargo.
 23       A It looks like -- it looks like Amex credit        23      Q Yes. And you recognize this as a bank
 24    card expenditures for the cards ending with 006, and   24   account that Roca Labs, Inc. used?
 25    for the periods of 2014, 2013. And another card I      25      A Yes.

                                                       458                                                       460
  1    see here 009.                                           1      Q Were you the sole signatory on this bank
  2        Q And you recognize those statements?               2   account?
  3        A I guess they are authentic statements from        3      A I think so.
  4    Amex.                                                   4      Q So any expenditures from this account
  5        Q Would you agree that you were the one who         5   would have been expenditures that you personally
  6    personally authorized any expenditures for              6   authorized, correct?
  7    advertising platforms Google Yahoo, Facebook, and       7      A Yes. This is something you guys printed?
  8    Microsoft that are reflected in those three sets of     8   You guys use quality paper.
  9    statements?                                             9      Q Might have been. I don't know. Oh, you
 10        A Yes. And we agreed to call them                  10   mean the actual physical document?
 11    advertisement platforms or platforms one word.         11      A Yeah. We just bought for the company a
 12        Q I didn't want to assume that carried over.       12   ream, a box.
 13    I just want to be very clear.                          13         MR. DAVIS: Would you like go to off the
 14        A Yes.                                             14      record, Carl?
 15        Q Mr. Juravin, a little while ago we talked        15         MR. SETTLEMYER: Yeah. We're off the
 16    about a Bank of America account for Roca Labs, Inc.    16      record.
 17    that ends with the number 3550. Do you recall that?    17         (A brief recess.)
 18        A Yes.                                             18   BY MR. SETTLEMYER:
 19        Q Any expenditures by Roca Labs, Inc. from         19      Q Mr. Juravin, I think we spoke yesterday
 20    that bank account would have been expenditures that    20   about a company, another Defendant, Roca Labs
 21    you personally authorized, correct?                    21   Nutraceutical, correct?
 22        A Yes.                                             22      A Yes.
 23        Q So any expenditures for -- strike that.          23      Q That's a company that you personally
 24        A By the way, no disrespect on the phone.          24   helped to create; is that correct?
 25    It's regarding the case and me transferring            25      A I created.


                                                                                              14 (Pages 457 to 460)
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                                                        461                                                        463
  1       Q I want to ask you to look at several               1      A Yes.
  2    documents that were previously marked as Exhibits       2      Q We've referred to that for short as MCO,
  3    21, 22 and 23. Let's start with No. 21. I'm going       3   correct?
  4    to ask you if you recognize Exhibit 21.                 4      A Yes.
  5       A And we decided to call it RLN to keep it           5      Q My understanding is that you have at all
  6    short.                                                  6   times been the sole owner of MCO, correct?
  7       Q I'll try to use that as an acronym.                7      A Yes.
  8       A Yeah. Okay. I see documents from SunBiz.           8      Q And you created MCO, correct?
  9           MR. DAVIS: I just handed the documents           9      A Yes.
 10       21, 22 and 23.                                      10      Q And you're the sole office of MCO,
 11           MR. SETTLEMYER: Thank you.                      11   correct?
 12           THE WITNESS: Okay.                              12      A Yes.
 13    BY MR. SETTLEMYER:                                     13      Q I'd like to have you look at Exhibit 33,
 14       Q So you agree that you submitted the               14   and tell me if you recognize the documents in
 15    documents or asked someone to submit the documents     15   Exhibit 33.
 16    to create Roca Labs -- RLN, correct?                   16      A Yes, I do.
 17       A Yes.                                              17      Q What is Exhibit 33?
 18       Q Let's look at Exhibit 22, please. Tell me         18      A Opening of a bank account with me being as
 19    please if you recognize Exhibit 22.                    19   sole signature.
 20       A Yes, I do.                                        20      Q This is a bank account with Bank of
 21       Q What is Exhibit 22?                               21   America in the name of Must Cure Obesity Co. with
 22       A Looks like RLN opened a business account          22   the account ending in 9288, correct?
 23    and I'm the sole signature.                            23      A Yes.
 24       Q And this is a Bank of America account             24      Q Is that account still in use today?
 25    ending in 5888, correct?                               25      A No.

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  1       A Yes.                                               1      Q It's not?
  2       Q Let's look at Exhibit 23, please. Do you           2      A No.
  3    recognize Exhibit 23?                                   3      Q And this was created in December, end of
  4       A Yes.                                               4   December 2014, correct, this bank account?
  5       Q Do you recognize these as bank statements          5      A Yes.
  6    for RLN with the Bank of America account ending         6      Q Let's move on to Exhibit No. 34, please.
  7    5888, correct?                                          7   Do you recognize Exhibit 34?
  8       A Yes.                                               8      A It looks like -- I'm sorry. It looks like
  9       Q And these would run from it appears                9   MCO AmEx card ending with 005 for February 2015.
 10    March 2014 through February 2015, correct?             10      Q And this is Amex account ending 01005,
 11       A Yes.                                              11   correct?
 12       Q You would agree that the expenditures made        12      A Yes.
 13    from this bank account are expenditures that you       13      Q Expenditures made on this card are those
 14    personally authorized, correct?                        14   that you personally authorized, correct?
 15       A Yes.                                              15      A Yes.
 16          (A brief recess.)                                16      Q Was anybody else authorized to use this
 17       Q Mr. Juravin, I've handed you several              17   card?
 18    exhibits that were marked previously Exhibits 33,      18      A There are a couple of them. Sharon King
 19    34, 35, 36 and 39. So we have the same --              19   had a card and my wife, Anna Juravin, had a card.
 20       A Yes, we do.                                       20   And they used it also for the business expenditures,
 21       Q -- number two. So before I get into the           21   but it's still in my responsibility.
 22    details on that, let me just ask more generally.       22      Q Let's look at Exhibit No. 35, please. Do
 23          You've testified previously both today and       23   you recognize Exhibit 35?
 24    in your September 2016 deposition about the company,   24      A Yes.
 25    Must Cure Obesity Co., correct?                        25      Q What is Exhibit 35?


                                                                                               15 (Pages 461 to 464)
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  1       A Chase Bank account for MCO account ending         1   documents previously marked as Exhibits 43 and 44.
  2    7028 for the period of July 2015 all the way till      2   One of the things I'm going to ask you is whether
  3    the end of 2015.                                       3   you recognize these documents as having your
  4       Q You agree that any expenditures off of            4   signature on the verification?
  5    this account shown in these statements would be        5      A Yes, it does.
  6    those you personally authorized?                       6      Q Let's start --
  7       A Yeah, I guess so. I'm the one who has             7      A The document Exhibit 43, Roca Labs versus
  8    access to it, yes.                                     8   Consumer Opinion Court, and the case number is
  9       Q Would anybody else have ability to                9   2014-CA-04769-NC, and it has my signature on it.
 10    authorize any transactions on this account without    10      Q And your signature is on the last page,
 11    your approval?                                        11   the verification page?
 12       A No, it's me.                                     12      A Correct.
 13       Q Let's look at Exhibit 36, please. Can you        13      Q Let's look at Exhibit 44. Do you
 14    identify Exhibit 36?                                  14   recognize Exhibit 44?
 15       A Yes. Chase Bank account ending with 7028         15      A Yes. Exhibit 44 is Roca Labs versus
 16    for the year 2016 ending with 7028.                   16   Consumer Opinion Corp, Case No.
 17       Q For Must Cure Obesity?                           17   8:14-cv-2096-T33-EAJ, and it has my signature as
 18       A Must Cure Obesity, MCO.                          18   the -- yes, it has my signature.
 19       Q Again, for this time period, you would           19      Q And that's on page 19298?
 20    have been the person to authorize any expenditures    20      A Yes. That's what you do in law school? I
 21    from this account, correct?                           21   didn't really need to read the entire case number,
 22       A Yes.                                             22   right?
 23       Q Would anybody else have been personally          23      Q That you probably didn't?
 24    authorized to make expenditures off this account      24      A No, I didn't.
 25    without your approval?                                25      Q Mr. Juravin, since the FTC filed its

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  1       A No.                                               1   lawsuit against Roca Labs in September of 2015, we
  2       Q Let's look at Exhibit No. 39, please. Can         2   know you've been deposed on September 2016 in
  3    you identify Exhibit 39, please?                       3   connection with this case as well as testifying
  4       A Chase Bank account ending with 7028 for           4   Wednesday and yesterday. There were also I believe
  5    MCO, January 2017. How did I do?                       5   a couple of depositions of you taken in another
  6       Q You would have been the sole person to            6   litigation involving Jody Barnes; is that correct?
  7    authorize the expenditures shown on this statement?    7       A Yes, but not in the last few months or
  8       A Yes.                                              8   something.
  9       Q Mr. Juravin, I've handed you a document           9       Q Well, I'm just going to ask you. Do you
 10    marked as Exhibit 30 previously. Do you recognize     10   recall there was a deposition of you in Sarasota in
 11    Exhibit 30?                                           11   March of 2016 in connection with the Barnes case,
 12       A Yes.                                             12   correct?
 13       Q What is Exhibit 30?                              13       A For some reason I don't recall it. But if
 14       A It's a document from SunBiz and it shows         14   you have it there, then yes we did.
 15    the formation of MCO.                                 15       Q Do you recall having been deposed in the
 16       Q You were responsible for the formation of        16   Jody Barnes case?
 17    MCO, correct?                                         17       A Yes, yes, yes. Now I do recall. It was
 18       A Yes.                                             18   in the courthouse and I do recall now.
 19       Q Mr. Juravin, earlier you discussed the           19       Q And that would have been in March of 2016?
 20    fact that you personally were authorizing lawsuits    20       A Yes.
 21    on behalf of Roca Labs, Inc. I'm going to hand you    21       Q There was another date in April of 2016,
 22    a couple of documents that we have looked at          22   correct?
 23    previously and ask you if you can identify pages --   23       A I'm not sure about the date. I just
 24    I'm going to ask you if you can identify documents    24   remember I was deposed and it was long ago.
 25    and then we'll turn to certain pages. These are       25       Q But it was twice in 2016, do you recall


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  1    that?                                                   1       Q So in terms of our ability to obtain any
  2       A No, don't test my memory. If you have it           2   transcripts of any depositions that you've been --
  3    there, then that's what it is. If not, Attorney         3   that you've given in the past two years, are you
  4    Whitney Coin will give you the transcripts.             4   saying that your counsel would be able to search for
  5       Q Did April Goodwin represent you at those           5   and provide those to you us?
  6    depositions?                                            6       A She will know better than me. She will
  7       A I think it was Whitney. I think it was             7   remember it better.
  8    Whitney Coin. Maybe April. I think both of them.        8       Q Is there anybody else who would remember
  9       Q You say that you thought the deposition or         9   better than her?
 10    depositions in the Barnes case were long ago. How      10       A No.
 11    long ago do you think they were?                       11       Q In terms of any sort of declarations,
 12       A It's my mind. When I say long ago, you            12   affidavits or other sworn written statements you've
 13    know, sometimes I can remember something when I was    13   given in any case in the past two years other than
 14    18. But I would not remember something from six        14   in this case, and I'm not sure if there are any
 15    months ago. It's the human brain, you know, it's       15   other than the one we referred to in the Lake case,
 16    selective.                                             16   are there any other sworn written statements you
 17       Q Well, let me just say I'm not trying to           17   provided in litigation in the past two years?
 18    test your, you know, memory of the specific date.      18       A I give my wife at least once a week a
 19    I'm just trying to overall understand all of the       19   sworn statement, but it's orally. I will ask April
 20    occasions in the past two years on which you were      20   and I will try to search if I have something like
 21    deposed in any other case or have given any sworn      21   that. But I don't know the definitions of the
 22    statements in other cases?                             22   documents that I sign. So I don't know if it's
 23       A I got it. So Barnes is one.                       23   called declarations or whatever it is that you call
 24       Q Barnes is one?                                    24   it. I don't know. But I can search for it. It's
 25       A But if you would not have reminded me, I          25   part of hallmark.

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  1    would say no. Barnes is one. No, but if my              1       Q But as you're sitting here today, you
  2    attorney can ask April. April maybe knows.              2   don't recall any other documents like that, that
  3       Q Do you recall being deposed on two                 3   you've done in the past two years, correct?
  4    separate dates in the Barnes case?                      4       A No, I don't.
  5        A Yes, I think so. I think it was more than         5       Q There's another company that I believe
  6    one day.                                                6   you've probably testified about on your September
  7       Q The class action lawsuit in California,            7   deposition called Juravin Incorporated, correct?
  8    the Lake versus Roca Labs, Inc., you also within the    8       A Yes.
  9    past year gave a declaration that we looked at          9       Q You're the sole owner of Juravin
 10    yesterday, correct?                                    10   Incorporated, correct?
 11        A Okay.                                            11       A Yes.
 12       Q I mean, I can find it if you would like me        12       Q You've been at all times the sole owner of
 13    to --                                                  13   Juravin Incorporated; yes?
 14        A Larry sends me the papers and says sign          14       A Yes.
 15    here, here and here.                                   15       Q And you founded Juravin Incorporated,
 16       Q Aside from the Barnes depositions and the         16   correct?
 17    depositions you've given in the FTC case, are there    17       A Yes.
 18    any other times in any other cases in the past two     18       Q I'm going to have some exhibits marked and
 19    years where you've been deposed?                       19   I'll have you take a look at all of them on a short
 20        A I don't think so. But as I mentioned             20   break, and then we'll just talk about them briefly I
 21    earlier, I told you earlier that if you would not      21   hope. I'll have these marked and then we'll hand
 22    have said Barnes, I would say no. And you mentioned    22   them to you.
 23    Barnes. So I think the safe things to do is to ask     23       A It's not I hope. You are in complete
 24    April if she knows. Because April almost for sure      24   control. You make the decisions if it's short or
 25    will know.                                             25   long. And I think I'm doing better and less


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  1    lengthier than yesterday. By the way, the fact that    1   together.
  2    I got from my eye doctor the prescription and go       2         MS. MARTENY: Listen to the question.
  3    online and buy whatever I want --                      3   BY MR. SETTLEMYER:
  4           (A brief recess.)                               4      Q Do you believe Mr. Whiting prepared the
  5           (Thereupon, Plaintiff's Exhibit Nos. 137 -      5   2014 tax return for Juravin Incorporated; yes or no?
  6       141 were marked for identification.)                6      A He was involved.
  7    BY MR. SETTLEMYER:                                     7      Q Was the accountant, Mr. Hershkowitz also
  8       Q So Mr. Juravin, we handed you some                8   involved?
  9    documents that have been marked as Exhibits 137        9      A No.
 10    through 141. Let's start with Exhibit 137. Do you     10      Q So it would have been primarily then you
 11    recognize Exhibit 137?                                11   and Mr. Whiting preparing this tax return?
 12       A It is the incorporation of Juravin Inc.          12      A No.
 13    And I see my signature there. That's mine.            13      Q Who else?
 14       Q And you're personally responsible for            14      A Nathan Smith.
 15    having submitted that paperwork, right?               15      Q Who is he?
 16       A Yes.                                             16      A Another accountant.
 17       Q And then let's look at Exhibit 138. Do           17      Q Is he with Hershkowitz or some other?
 18    you recognize Exhibit 138?                            18      A Some other.
 19       A Yes.                                             19      Q So you, Mr. Whiting, and Mr. Smith from
 20       Q What is Exhibit 138?                             20   your recollection were involved in preparing the
 21       A The opening of bank account ending with          21   Juravin Incorporated 2014 tax return, correct?
 22    5833 in Bank of America for Juravin Incorporated,     22      A Yes.
 23    and I'm the sole signee.                              23      Q What sources of information were used to
 24       Q Is this account still in use?                    24   calculate the amounts shown in this tax return?
 25       A No.                                              25      A Everything I have they ask for all the

                                                       474                                                        476
  1        Q Let's go to Exhibit 139.                         1   information, and I just acted upon it and gave them
  2        A Okay.                                            2   everything.
  3        Q Do you recognize Exhibit 139?                    3       Q What is everything? Can you be more
  4        A It looks like a tax return, 2014, for the        4   specific.
  5    company Juravin Incorporated.                          5       A Bank account, 1099's, expenditures,
  6        Q Did you provide the information used to          6   whatever necessary to prepare this tax return.
  7    prepare the tax return for Juravin Incorporated for    7       Q You see on line six of the 2014 tax
  8    2014?                                                  8   return, Exhibit 139, that there is total income
  9        A Either yes or no. I'm responsible for it.        9   shown of $665,209.87, correct?
 10        Q I'm trying to just find out first of all        10       A Yes.
 11    if you have a personal specific understanding of      11       Q What is the source of that income?
 12    what documents were provided I'm assuming to an       12       A The source of that income -- I'm trying to
 13    accountant to generate this tax return?               13   say it without being too lengthy -- is reimbursement
 14        A I am. But I'm not providing. I'm just           14   for advertisement. Juravin Incorporated is supposed
 15    giving access to the bank account to George and       15   to do advertisement and hold the trademarks. So
 16    George does the rest. So I'm not really giving or     16   some of the advertisement I'm trying to establish it
 17    providing, but I am responsible. I am signing on      17   as an advertisement company. So instead of Roca
 18    it. I'm responsible one way or another.               18   Labs paying directly to Google let's say, Juravin
 19        Q I just want to make sure that I'm               19   Incorporated will pay to Google and Roca Labs will
 20    understanding. So did George Whiting prepare this     20   reimburse or pay 10 percent override to Juravin.
 21    tax return, 139?                                      21       Q So then the entities paying money to
 22        A I think that this one, the '14 and '15,         22   Juravin Incorporated that are reflected in that
 23    this is the four, five, six months that we work       23   income number would have been either Roca Labs
 24    diligently and everybody was doing everything         24   Nutraceutical or Roca Labs, Inc or Muscular Obesity?
 25    together, gathering information, and putting all      25   Is that your testimony?


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  1       A Not Muscular Obesity, but the other two.           1   one. I'm going to hand Mr. Juravin documents that
  2       Q 2014 Muscular Obesity didn't exist,                2   were previously marked as Exhibits 81 through 84.
  3    correct?                                                3   If you could take a moment and look through those.
  4       A Yes.                                               4   I'll have a couple of questions.
  5       Q Let's move on to Exhibit 140. Tell me if           5          Mr. Juravin, do you recognize the document
  6    you recognize Exhibit 140, please?                      6   that's been marked as Exhibit 81?
  7       A The same as earlier, but for 2015. Tax             7       A Yes.
  8    return for Juravin Incorporated, 2015.                  8       Q What is Exhibit 81?
  9       Q Was it you and Mr. Whiting, and what's the         9       A It's a Plum card AmEx belonging to the
 10    other gentleman's name?                                10   card Juravin, card ending with 002, and it's for the
 11       A Nathan Smith.                                     11   period of 2014.
 12       Q Nathan Smith who prepared this 2015 tax           12       Q Are you the sole signatory on this
 13    return?                                                13   account?
 14       A Yes.                                              14       A Yes.
 15       Q What information went into -- was used to         15       Q So any expenditures shown in these
 16    prepare the figures shown in the 2015 tax return?      16   statements would be authorized by you, correct?
 17       A Bank records, expenditures, credit cards,         17       A Yes.
 18    everything necessary to prepare it.                    18       Q And those include expenditures for
 19       Q And you personally made that information          19   advertising platforms, correct?
 20    available to the team preparing this?                  20       A Yes.
 21       A Yes.                                              21       Q Let's take a look at Exhibit 82. Tell me
 22       Q The gross receipts shown on the 2015 tax          22   if you recognize Exhibit 82, please.
 23    return of $1,435,758.98, what was the source of        23       A Exhibit 82 belongs to the company Juravin,
 24    those gross receipts?                                  24   Bank of America, account ending 5833. And it's from
 25       A I think you read it incorrectly.                  25   March 2014 till the end of 2000 -- I'm sorry.

                                                       478                                                          480
  1       Q Please read it correctly.                          1   March 2014 till end of February 2015.
  2       A I think you read line 1C instead of six.           2      Q Are you the sole signatory on this
  3       Q Well, let's -- I see, you're correct.              3   account?
  4    Let's look at line six total income. That's             4      A Yes.
  5    $1,722,218.29; is that correct?                         5      Q Any expenditures made on this account
  6       A Yes.                                               6   would have been authorized by you, correct?
  7       Q What's the source of that income?                  7      A Yes.
  8       A One of the other companies paying for the          8      Q Let's go to Exhibit 83. Do you recognize
  9    advertisements.                                         9   Exhibit 83?
 10       Q So in 2015, one of the other companies            10      A Exhibit 83, Plum card AmEx, Juravin,
 11    would have either been Muscular Obesity or Roca Labs   11   ending with 008 for the period of September
 12    Nutraceutical?                                         12   through -- just for September.
 13       A MCO, RL or RLN.                                   13      Q Of 2015, correct?
 14       Q By RL you mean Roca Labs, Inc., correct?          14      A Yes.
 15       A Yes.                                              15      Q So, yes, you recognize it, right?
 16       Q Look at Exhibit 141, please. And I don't          16      A Yes.
 17    have really have any question about this. But you      17      Q You're the sole signatory on this account?
 18    recognize this as the answer filed by Juravin          18      A Yes.
 19    Incorporated to the FTC's First Amended Complaint in   19      Q And any expenditures on that account would
 20    this case, correct?                                    20   have been authorized by you, correct?
 21       A Okay.                                             21      A Yes.
 22       Q You agree with that?                              22      Q Let's look at Exhibit No. 84, please.
 23       A Yes.                                              23      A Chase account ending 8193, Juravin
 24       Q Let's take a look at some documents that          24   Incorporated, period of September 2015.
 25    have been introduced previously. I'm done with that    25      Q You recognize this account?


                                                                                               19 (Pages 477 to 480)
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  1       A Yes.                                               1       A It has customers.
  2       Q You're the sole signatory on this account,         2       Q Yes.
  3    correct?                                                3       A And it has people that just inquired and
  4       A Yes.                                               4   they are not customers.
  5       Q And any expenditures shown on this                 5       Q Okay.
  6    statement you would have authorized, correct?           6       A More than half of them of course not
  7       A Yes.                                               7   customers. They just inquired. And at that time,
  8       Q I'm going to back up to ask you about 83,          8   as we are as a small business we all the time
  9    just one additional question. Is the American           9   evolved all the time ideas. At that time we wanted
 10    Express account in Exhibit 83 still in use?            10   to see if people are serious. So we asked them to
 11       A Yes. Yes.                                         11   place a credit card. And we charged their credit
 12           MR. SETTLEMYER: Why don't we take a two         12   card one dollar to see that it's valid; to see if
 13       minute break and I'll gather up some additional     13   they are serious about the purchase. And then at a
 14       documents.                                          14   later time we learned that the one dollar always the
 15           (Thereupon, a brief recess was held off         15   credit card goes through. So then we charge $17.
 16       the record and the proceedings continued as         16   And then we apply those amounts to the purchase.
 17       follows:)                                           17   And if they decided not to purchase, it was just
 18    BY MR. SETTLEMYER:                                     18   returned to them. It's called capture. We capture
 19       Q Mr. Juravin, I want to hand you documents         19   it and return it.
 20    18, 19 and 20. Exhibits 18, 19 and 20. Just to         20           So when you look at all of them, not all
 21    refresh your recollection if you need that. The        21   of them are real customers. Only those that you
 22    American Express accounts for those statements, are    22   will see that paid $300, $400, $500, and so on. And
 23    they still active accounts?                            23   only those are customers. The reason that it wasn't
 24       A No.                                               24   available earlier is because as far as we were
 25       Q Are either one active?                            25   concerned, we don't have it. And the reason we

                                                       482                                                          484
  1        A No.                                               1   didn't migrate or take it is because it had credit
  2       Q Okay. Thank you.                                   2   card information in it and security and so on. We
  3           Mr. Juravin, I want to ask you about the         3   didn't want to mess with it. But the class action,
  4    types of -- some of the activities of companies         4   they subpoenaed the information. So as soon as it
  5    you've been involved with. We talked about Roca         5   was made available a few days ago, a week ago or
  6    Labs, Inc., Roca Labs Nutraceutical and Muscular        6   something, it was made available. So immediately I
  7    Obesity. I want to ask this in terms of your -- in      7   send it to you guys.
  8    your capacity as a corporate representative in light    8      Q Let me just understand. What's the time
  9    of just one or two documents that we understand are     9   frame this database covers?
 10    being produced to us today just so I understand what   10      A I think '13, '14.
 11    we're getting. I understand we're getting one          11      Q 2013, 2014?
 12    document produced to us that is a set of customer      12      A About. Whatever it is that they have,
 13    information from a platform called Infusionsoft; is    13   they gave it. So you have it.
 14    that correct?                                          14      Q Does the database indicate whether someone
 15        A Yes.                                             15   purchased or didn't purchase?
 16       Q Can you describe for me what that                 16      A You will have to find out either by
 17    Infusionsoft record is that's being produced to us?    17   customer status or by the amount. That's how you
 18        A And I would like also to explain why you         18   will know.
 19    didn't have it before.                                 19      Q And that's a, yes, there's an indication
 20       Q Okay, that's fine, too. But start with            20   in a column of the spreadsheet that would suggest
 21    what is it we're getting?                              21   that?
 22        A You're getting the customer database of          22      A Yes, but it's not obvious.
 23    name of the customer -- I'm sorry. You're getting a    23      Q Okay. Thank you for explaining that. And
 24    database.                                              24   then these are purchasers of Roca Labs' products,
 25       Q Okay.                                             25   correct, that we're talking about?


                                                                                               20 (Pages 481 to 484)
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                                                       525                                                         527
  1    yes. Let's move on. I'm preserving if that's what       1      when we go forward.
  2    it means. I'm not deleting.                             2   BY MR. SETTLEMYER:
  3        Q Well, preserving doesn't mean not                 3      Q I think we're done with this colloquy
  4    deleting. Deleting if you're understanding is being     4   about the documents. My questions for Mr. Juravin
  5    an active act of deletion of something, that's one      5   as corporate representative relating to the
  6    variation of which data disappears.                     6   preservation of communications.
  7          Are there other automatic processes that          7         Mr. Juravin, can you please look at the
  8    delete messages after say 30 days or anything else      8   document that's been marked as Exhibit 2. And I'm
  9    in place for the business communication systems?        9   asking you in your individual capacity now, not
 10        A Not familiar with some script like this,         10   necessarily as corporate representative. And take a
 11    and I don't have some script like this. I don't        11   look at a statement towards the bottom of page 12 in
 12    have it. No. We don't do anything active like          12   item lower case f that says 90 percent success rate?
 13    that.                                                  13      A Yes.
 14        Q So let me just clarify. You're saying            14      Q Can you take a moment and read that text
 15    there is no auto delete feature that you're using in   15   going from the bottom of 12 up to the top of 13,
 16    the business e-mail?                                   16   please. I'll note Exhibit 2 is the FTC's First
 17        A No, I'm not familiar even with that.             17   Amended Complaint just so you can follow along.
 18    Sorry. Just when you said the word preserve, it        18      A I read it.
 19    sounds like I needed to do something. I'm not doing    19      Q So did you write the statement shown in
 20    something active.                                      20   subpart F shown on page 12?
 21           MS. MARTENY: Don, you answered the              21      A Yes.
 22        question.                                          22      Q You see the words -- and you also I
 23           THE WITNESS: I got it. I think we               23   believe have acknowledged in yesterday's discussion
 24        understand it.                                     24   that text of this sort appeared on Roca Labs's
 25           MR. DAVIS: While Carl gathers his               25   website, correct?

                                                       526                                                         528
  1       thoughts, I'd like to respond to a                   1       A In one version. In one version. This is
  2       characterization by Defense counsel about those      2   the version before we worked on it. And I think
  3       three declarations that were handed to us            3   this version was online for a very short period of
  4       approximately five minutes ago. One                  4   time. Sometimes we write something and then we take
  5       declaration by a woman named Ms. Priscilla           5   the time to later finalize it. So for a short
  6       Cucata is not in fact signed. There is no            6   period of time, that was on. When I say short
  7       signature anywhere in the declaration. That          7   period of time, since normally it can be days.
  8       same declaration purports to have exhibits,          8       Q Please turn to page 14. At the bottom
  9       because there is a page that has the word            9   there's a subpart B. I'd like you to read that,
 10       exhibits on it as if it is a cover page, and        10   please.
 11       behind that cover page there is nothing. So it      11       A I'm reading it to myself. I read it.
 12       appears that is an unsigned declaration that        12       Q You agree this is text -- and you can look
 13       lacks exhibits.                                     13   and see the reference that we've given on the top of
 14          An additional declaration that was handed        14   page 15. This is from a video that's denominated,
 15       to us by Ms. Theresa Lizotte may or may not be      15   "What is a Success Rate"; is that correct?
 16       signed. It does not look like a handwritten         16       A I don't remember the video. But if you --
 17       signature and it's not on the signature line.       17   if that's what you translated, this is what it is.
 18       So characterization of what was handed to us        18       Q You mean transcribed?
 19       may be in dispute. That's all I want to say.        19       A Transcribed.
 20          MS. MARTENY: We'll agree that the                20       Q So do you recall whether you wrote that
 21       documents are whatever they are.                    21   text that's spoken in the video?
 22          THE WITNESS: Electronically signed.              22       A Almost irrelevant, because I'm responsible
 23          MS. MARTENY: They are what they are.             23   for it.
 24       They speak for themselves.                          24       Q I'm asking just in your personal capacity.
 25          MR. SETTLEMYER: Yeah. We'll address it           25   You agree that you personally were involved with


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                                                       529                                                         531
  1    the --                                                  1   that are at least 110 pounds overweight and they
  2        A Involved definitely.                              2   must be healthy. Otherwise, the IRB will not accept
  3        Q You probably sounds like wrote the text           3   them. Impossible. They don't exist. Because
  4    and perhaps had someone else edit some of it?           4   overweight people for 20 years are always have a
  5        A Possible. But even if Sharon wrote it for         5   condition.
  6    me, I'm still responsible. I'm the one uploading        6          So my next option is to review the 80,000
  7    it. I'm responsible for things that's written on        7   people or to review the people that are using the
  8    the web.                                                8   regimen. I've done that. I've asked Sharon. I
  9        Q Let me ask you about a part of the                9   discussed with Roxy. Roxy talked to let's say, in
 10    statement that appears on both page 14 and page 12,    10   her lifetime with us, I would say 5,000 people,
 11    and that is that "the formula is scientifically        11   10,000 people. Her and her group, they talked to
 12    proven to have a 90 percent success rate".             12   thousands. The consensus is like, you know -- the
 13           Do you know what the basis for that             13   consensus is -- I don't know what the word is, the
 14    assertion is?                                          14   adjective. The regimen works from day one provided
 15        A Yes.                                             15   you follow instructions and rules. If you follow
 16        Q What is the basis for the assertion that         16   instructions and rule, it does work.
 17    there's a 90 percent success rate scientifically       17          What I did a few months ago, we have
 18    proven?                                                18   13,000 people in our group. I ask them a question.
 19        A Throughout the years I've accumulated            19   I raise the poll. Pool, poll, P-O-L-L. And I asked
 20    information whether from scientific researchers,       20   them -- do we have it somewhere? Okay. I asked
 21    whether from the doctors, but mainly, mainly, mainly   21   them -- I asked them, is it true or not? Only users
 22    from my experience with the customers. I would say     22   answer. Only users answer. Does the regimen work
 23    the time that it was written, probably 60, 70,000      23   from day one in a way that it cuts in half your food
 24    users at least. I've done all the possible in my       24   intake, your calorie intake. And then I give them
 25    opinion it is. So I asked normally Roxy. I will        25   the option. Yes, it's absolutely true; it's true in

                                                       530                                                         532
  1    ask Sharon. I seldomly will talk to users directly.     1   part; not completely, and so on. And I just left it
  2    But when I gathered all the information from            2   for them to answer over a period of a month or two.
  3    everybody, and when I read the articles and the         3   Anybody that wants to answer. And only users.
  4    research, and talked to the doctors, I came up with     4          The results were 85 percent said
  5    it is working from day one 90 percent of the time,      5   absolutely it works from day one. And works from
  6    at least 90 percent of the time in reducing -- in       6   day one was defined I'm eating half from day one.
  7    making people eat about half than what they ate         7   Another five percent or seven percent says it is
  8    before. It is the most scientific way possible for      8   true in the most part. And there I got my 90
  9    a nutraceutical to come up with a declaration like      9   percent that I claimed all along.
 10    this. And the reason I'm saying that it's the most     10          So if there is a short way, number one,
 11    scientific, which sounds ridiculous. I mean, how       11   I've done all the scientific way possible. Now the
 12    can it be the most scientific? I will explain.         12   folder that you got, the black folder with 58
 13           Our average customer is 111 pounds              13   researches, I will say out of 58, 48 are in my mind
 14    overweight. And it's not overweight for a year,        14   throughout the last eight, 10 years. But only in
 15    two, 5 or 10. It's probably for most of their          15   the last year since the -- since the FTC sued me
 16    lives. The assumption is that the overweight people    16   that I bothered putting it on paper. But I had the
 17    are also sick or they are not healthy. They must       17   same information all along, but I just didn't bother
 18    have something heart issue, cholesterol. They have     18   putting it on a paper.
 19    diabetes. They must have something, some condition.    19          So the 51, I think, researches that I knew
 20    If they have a condition, I cannot have them           20   or 48 or 51, I looked at them. And about 50, I knew
 21    approved by the IRB.                                   21   all along the same information. But it wasn't
 22           In other words, if I want to do a clinical      22   nicely on a paper, because I didn't think I would
 23    right now checking on these people and taking -- and   23   need it. And then you will find within the 58
 24    if I want to conduct a clinical, and say to the        24   researches, you will find one research that answers
 25    clinical, find me 32 people, the minimum, 32 people    25   about how fiber can occupy the stomach and for how


                                                                                               32 (Pages 529 to 532)
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                                                        537                                                        539
  1       Q I'm not asserting that you have detailed           1   only 20 percent available space for 10 to 16 hours."
  2    information about each customer in your head. I'm       2   Do you see that?
  3    just saying you're generally familiar with the types    3       A Yes.
  4    of records those businesses have kept about             4       Q What is the basis for the assertion that
  5    customers over the years; is that correct?              5   only 20 percent of stomach space will be available
  6       A No.                                                6   for 10 to 16 hours?
  7       Q You're not generally familiar with the             7       A Let's divide it into two. The 20 percent
  8    records that have been kept by the business about       8   is easy because when the stomach is the size of
  9    customers?                                              9   about a fist and let's say 500-milliliter. And when
 10       A Not the customers. I became forced to             10   I give them 450-milliliter of the activator with the
 11    deal with social media only after Jenna --             11   morning dose, all by itself that's it. I mean, it
 12           MS. MARTENY: That's not the question.           12   leaves no room available. So that's an easy one.
 13    BY MR. SETTLEMYER:                                     13           As far as the claim for the 10 to 16
 14       Q I'm not asking about social media. I'm            14   hours, it's intended for psychological reasons. And
 15    asking about the customer records that have been       15   this is -- I would like to reveal as much as I can
 16    maintained about people who purchased the product?     16   to you about what I do, but we need to go
 17       A So I am not familiar. Only after the              17   confidential on that.
 18    incident with Jenna that I made myself much more       18       Q Let me get the answer to my specific
 19    familiar. Till then, only Sharon King and Roxy were    19   question. What is the basis -- is there any basis
 20    really going into the database, communicating with     20   for the claim that 20 percent of the stomach will
 21    customers and being familiar. I'm not familiar with    21   be -- only 20 percent of the stomach will be
 22    the customers.                                         22   available for 10 to 16 hours?
 23       Q I'm not asking about the customers. I'm           23       A For the 20 percent, definitely yes. For
 24    asking are you just generally familiar with the        24   the 10 to 16 hours, not completely.
 25    overall types and systems of information that --       25       Q To what extent is there basis for the 10

                                                        538                                                        540
  1       A Yes.                                               1   to 16 hours assertion?
  2       Q -- the business has used to collect from           2       A I would ask that we go confidential and I
  3    the customer?                                           3   will explain everything if possible, because this is
  4       A Yes.                                               4   my trade secret. This is absolutely my trade secret
  5       Q So do any of those records include any             5   and I would love to reveal it to you if I don't want
  6    systematic monitoring about which customers have        6   anybody else to know about it.
  7    lost weight after using Roca Labs product; yes or       7           MS. MARTENY: And before you do that, can
  8    no?                                                     8       we talk for one second. Because I'd like to
  9       A No.                                                9       know a little bit more about this.
 10       Q And then in terms of your explanation a           10           THE WITNESS: I think I explained to you
 11    few moments ago about the basis for asserting that     11       about it.
 12    the formula is scientifically proven to have a 90      12           MR. SETTLEMYER: At this point we've got a
 13    percent success rate, is there any other information   13       question pending and I want to get his answer.
 14    that you can think that substantiates or provides a    14           MS. MARTENY: No, I understand. Go ahead.
 15    basis for that statement?                              15           MR. SETTLEMYER: We'll designate this
 16       A More than the four reasons I mentioned?           16       portion of the record coming up as
 17       Q Yes. Are there anymore?                           17       confidential. Please give me your answer.
 18       A I don't think it's possible to have more.         18           (Thereupon, the NON-CONFIDENTIAL portion
 19       Q The answer is then no.                            19       of the transcript ended.)
 20       A No.                                               20   ///
 21       Q So let me look at a different statement.          21   ///
 22    I'm looking specifically -- we'll stick on page 14,    22   ///
 23    Item B. It goes on to say, "It", referring to Roca     23
 24    Labs' formula, "will always achieve a gastric bypass   24
 25    affect by physically occupying your stomach leaving    25


                                                                                               34 (Pages 537 to 540)
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   1              CONFIDENTIAL                                 1   where I trick the customer's psyche. There is a
   2           (Thereupon, the CONFIDENTIAL portion of         2   scientific proof. Absolutely no question about it.
   3       the transcript started:)                            3   It's called fasting 16 hours. If you fast for 16
   4           THE WITNESS: When you deal with people          4   hours, you will definitely, definitely lose weight.
   5       that are obese and morbid obese, there is a         5   Because the body gets into a mechanism of fasting 16
   6       psychological defect. Because as I see it,          6   hours. You can see it in the black folder. Your
   7       they have a self destruction. It's people that      7   experts will agree with it. Everybody knows it.
   8       have self destruction, they know that they eat      8   Fasting 16 hours. I need to make my fat customer, I
   9       something for the pleasure of the moment and        9   need to make them fast 16 hours. I cannot be direct
  10       they know that their life will shorten, and        10   with them, and say, hey, you're going to fast 16
  11       they know that they will have complications.       11   hours. Just listening to that is scary. I have to
  12       There is a problem. I have to work with a lot      12   trick the customer with love. Okay. I don't want
  13       of psychology here; a lot of psychology.           13   to say trick. Like doesn't sound good trick the
  14           If you look at the early terms that we had     14   customer. But I don't have any vocabulary to
  15       on-site, the very, very early from the very        15   explain it differently.
  16       beginning, I was very clear with the customers,    16           So the way it works is like this. I tell
  17       I think from 2010. And what I told the             17   them when you wake up in the morning, you will
  18       attorneys to do is to tell them, if you come to    18   consume the gastric bypass effect. Okay. No big
  19       my site, if you come to my Facebook boot camp.     19   deal. They consume it. I know from scientific
  20       It's called boot camp.                             20   reasons, I know from the research, I just know that
  21    BY MR. SETTLEMYER:                                    21   it will remain in the stomach a long time. Not 16
  22       Q Currently it's called Facebook boot camp         22   hours, not 10 hours. It will remain three and a
  23    or it was back in 2010?                               23   half hours, maybe four. That's all I need to keep
  24       A 2010 it was the site. Today I say out            24   them to eat after four hours according to the
  25    loud with a lot of confidence. In 2010, I implied.    25   instructions. That's all I want the formula to do.

                                                       542                                                         544
  1    I basically told them, if you come here, if you want    1   But I want to stick in their mind, you have no room
  2    to work with me, if you want my regimen, I'm allowed    2   in your stomach. It's part of the psychology. You
  3    to tell you anything I want; to do anything I want      3   took a gastric bypass effect. You feel like this.
  4    with you that would lead you to a healthy weight;       4   There is no room. But between you and I, it leaves
  5    anything. I can tell you that you will grow hair on     5   the digestive system after three and a half hours.
  6    palm of your hand. Anything I want I can do with        6           Next, I tell them, your last calorie
  7    you. And I will bring you to a healthy weight.          7   intake, not food. I call it calorie intake. I
  8    Please pay attention that I didn't say lose weight,     8   don't want them to trick me with drinking things
  9    because I don't care about losing weight. I care        9   with calories. Your last calorie intake is four
 10    about bringing them to a healthy weight. Okay. In      10   hours before you go to sleep. And then I continue
 11    other words, I will not be happy if somebody tells     11   to give them remedies, like the pills, anti-cravings
 12    me, I lost 20 pounds in five days. Show me that you    12   and other things. And if I can continue like this
 13    have achieved healthy weight.                          13   all day giving them the pill that can sustain them a
 14            So basically I will show them any images I     14   few hours and give them again the gastric bypass
 15    want. I will do anything I want for them for as        15   effect all the way four hours before they fall
 16    long as I lead them to achieve a healthy weight.       16   asleep, guess what I did? I got my 16 hours
 17    Okay. Now part of writing to them like this --         17   fasting. But I can never tell them that. I can
 18        Q You're pointing to the statement on page         18   never reveal to them or to anybody else that this is
 19    14?                                                    19   what I do with them.
 20        A I'm pointing to the statement.                   20           So when I tell them the 20 percent is a
 21        Q With the 10, 16 hours?                           21   given, because you just fill up the stomach with the
 22        A Yes. And I will explain the psychology           22   morning dose. But the 10 to 16 hours, no. I know
 23    behind it. And that's the reason why I have            23   that it's only four hours. But I tell them 10 to 16
 24    trademarked gastric bypass effect. I need a            24   hours because of the psychological effect. All of
 25    psychological effect. And I will explain to you        25   that is a lot of psychological. Showing them images


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                                                       545                                                         547
  1    is a psychological thing. Everything they can.          1   minutes from Jesus. God and I talked last night.
  2    When they come to my boot camp, when they buy from      2   God brought that person here to this group. God
  3    me, they permit me to do anything possible with them    3   told me that he's done. God told me that he's done.
  4    to achieve the results.                                 4   He introduced already us and that's it. You are on
  5           So basically the bottom line is the              5   your own. And you will see everything in the group.
  6    morning dose, which the main thing is carried them      6   I don't have to tell you. You will see everything.
  7    only four hours, and then another pill carried them     7   This is part of the saved answer. And this is the
  8    and carried them and carried them, and then four        8   way -- this is my methodology that I'm using.
  9    hours before they go to sleep, and I got my 16 hours    9          That's why I think that the FTC came to us
 10    fasting. Which you will find a ton of evidence for     10   and judging me. We are not a normal group. I don't
 11    that to work.                                          11   act normally with the group. And I don't have
 12           One more thing. I not just force them to        12   normal people. They have 110 pounds. So this is
 13    drink three liters. I scare the hell out of them if    13   basically my answer to you. So the 10 to 16 hours
 14    they don't drink it. I say, if you don't drink the     14   is a psychology. S is the stomach that I showed.
 15    three liters, you will have complications and you      15       Q The image?
 16    will have this one. It's true in part. It's true       16       A The image of the stomach full and I tell
 17    in part. But it doesn't -- the person doesn't need     17   them you don't have a room.
 18    to drink three liters. But they do need to drink a     18       Q Are you talking about the image that
 19    liter. But I tell them three. Why? Because I have      19   appears in Exhibit 2, page 10, in paragraph 26?
 20    scientific evidence that if you drink three liters,    20       A Yes, I am. Psychology, psychology,
 21    you will lose a few more pounds a month.               21   psychology with these people. I don't -- there is
 22        Q Are you saying there's scientific evidence       22   no science to what -- only psychology. A ton of
 23    that they would lose those pounds if they drank        23   psychology, including scaring the hell out of them.
 24    three liters without the formula?                      24   I brought somebody to the group that told them how
 25        A Yes. If they do the three liters on their        25   terrible the surgery is. And by the way, we have in

                                                       546                                                         548
  1    own, they would lose. If they do exercise, they         1   the group I would say 40, 50, 60 people, it's a
  2    would lose. If they do the 16 hours on their own,       2   guess, that underwent the surgery. Of course they
  3    they would lose. If they do this -- I put               3   didn't succeed because the surgery doesn't take care
  4    everything all together, including scaring them,        4   of cravings. And the people in the group are
  5    that if they don't succeed now, they will go to a       5   telling other people, make it work. You will go to
  6    surgery. I could do everything possible from my         6   a surgery and they tell them you lose hair, you lose
  7    team, which I treat like a family. I treat them the     7   whatever it is. And these people, by the way, if
  8    way that I will treat Anna and my kids. The way         8   you're going to ask me next about better than
  9    that I would treat myself with the language, with       9   gastric bypass surgery, I don't need to say it
 10    everything. I'm willing -- if I'm right now            10   anymore. They say it. And I placed another poll in
 11    110 pounds, trick me, do with me whatever you want,    11   asking only users that underwent the surgery, tell
 12    just get me to be a healthy weight. I don't care       12   me, is the gastric bypass alternative better,
 13    what you do to me. This is the situation of these      13   cheaper, faster than a surgery? Only those. And
 14    people.                                                14   they answer. They say, yes, it is. I didn't et '90
 15           To give you an example, if somebody tells       15   percent there. I got 70, 80 percent. I don't
 16    me, yeah, I'll go for it; I'm going to try it. We      16   remember what. And you can see the people that
 17    have a saved answer that you will see. The answer      17   underwent the surgery.
 18    try. Are you going to waste $600 for a try? Let's      18          Mary Williams, for example, I think from
 19    do a deal. You keep your $600. I'm keeping my high     19   Texas, and Nancy N. We wanted to bring her here,
 20    success rate. Come back when you are sure. When        20   but her husband has a surgery on the 22nd. Mary
 21    somebody says good luck to each other, they can be     21   Williams. You just go online and you will see those
 22    vamped out of the group. What do you mean good         22   people. And they say to other people, listen, this
 23    luck? Don't you trust that this person can really      23   is beautiful. I wish I knew it before I cut my
 24    succeed? Why do you think he needs to talk to God?     24   stomach and before I started losing teeth. And they
 25    And then I tell them, by the way, I was born 40        25   say, it is better, safer, cheaper than the surgery.


                                                                                               36 (Pages 545 to 548)
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                                                      549                                                         551
   1              MR. DAVIS: May I ask for the sake of        1   drugs to spikes of sugar. Anti-cravings, our
   2          clarity on the record of this deposition        2   anti-cravings balances the sugar levels and helps
   3          whether the trade secret is still being         3   people to overcome cravings.
   4          discussed and whether this is still             4       Q Let me ask you this.
   5          confidential.                                   5        A The surgery does not do it. And that's
   6              THE WITNESS: I will stop here.              6   the main, main reason why it's better. There are
   7              MR. DAVIS: I'm not asking you to stop.      7   many more. But that's the main, main reason why
   8          I'm curious whether the trade secret -- the     8   it's better.
   9          discussion of the trade secret has ended. I     9       Q Let me ask you specifically. What is the
  10          can't tell.                                    10   basis for any assertion that Roca Labs is better
  11              MS. MARTENY: I think it is.                11   than gastric bypass surgery in terms of helping an
  12              THE WITNESS: It is now because I stopped   12   individual lose weight?
  13          talking about psychology.                      13       A Wow, where do I start? Number one,
  14              MR. SETTLEMYER: So we'll leave the         14   because people tell me. Because the group tells me.
  15          confidential portion of the record.            15   People in the group tell me I had the surgery. I
  16              MR. DAVIS: Thank you.                      16   hate the surgery. It was not successful. I
  17              (Thereupon, the CONFIDENTIAL portion of    17   regained the weight because I couldn't overcome the
  18          the transcript ended.)                         18   cravings. Now I'm overcoming the cravings. So it's
  19    ///                                                  19   better.
  20    ///                                                  20           It's also better because you don't cut
  21    ///                                                  21   your stomach. You don't lose all the Vitamin B's.
  22                                                         22   Because once you cut your stomach, you don't have
  23                                                         23   Vitamin B's. As a result you lose teeth, you lose
  24                                                         24   hair. You have a million complications. You don't
  25                                                         25   have it with the regimen. The regimen actually

                                                      550                                                         552
  1            (Thereupon, the NON-CONFIDENTIAL portion       1   makes you feel better, energetic. Everything that
  2        of the transcript continued as follows:)           2   you will find in the group.
  3    DIRECT EXAMINATION BY MR. SETTLEMYER:                  3           The group today is an easy way for me to
  4        Q You had mentioned in a few -- I believe it       4   see a mirror -- not a mirror, but to reflect the
  5    was yesterday in terms of talking about your           5   reality. Earlier I knew it because Roxy told me,
  6    training and experience that you had taken some        6   because Sharon told me, because people that
  7    courses in psychology, is that correct, in college?    7   testimonials. It was more difficult to collect
  8        A Yes. But this is really not the way that         8   data. Today I see that what I claimed earlier that
  9    I -- I don't consider myself a professional            9   took me two years to claim, today I can claim it in
 10    psychologist. Not a professional. Not a doctor.       10   one day. Because I will ask something and
 11    Not professional in anything. I consider myself       11   immediately 20, 30 40 people will tell me that. So
 12    very, very street smart; no more than that. And I'm   12   it's definitely, definitely better than the surgery.
 13    very clear on the group every time I give them an     13   It costs less. It's immediate and everything.
 14    advice, I say, I'm not a doctor. I'm not a            14        Q I want to speak specifically on what
 15    psychologist, but I have experience of eight years    15   basis, if any, additional is there for any assertion
 16    and 80,000 users.                                     16   that it's better at achieving -- helping someone
 17        Q Let me move over to another topic               17   achieve the result of losing weight of actually
 18    momentarily. When the websites for the Roca Labs      18   creating a change in weight?
 19    products have referred to Roca Labs being better      19        A Okay. Average bariatric surgery patient
 20    than gastric bypass surgery. Better in what way       20   would lose six to 11 pounds a month based on Web MD.
 21    would you say?                                        21   If you go on the Facebook Loss 100 group, you will
 22        A The main, main big thing, cravings.             22   see the average weight reduction. Number one,
 23    Cravings is not what people think. It's not mind      23   everybody is losing weight from day one. The change
 24    over matter. Cravings is a sickness. It's a           24   in their habits occurs almost on day one. The
 25    condition. It means when your body is used like       25   ability to overcome cravings is after a few days.


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                                                      553                                                         555
  1    But let's talk about the average weight reduction.     1      A In capital letters.
  2    Our average weight reduction -- forget about the       2      Q What are those?
  3    crazy things like 50 pounds in a month. You see        3      A No coffee. Coffee creates --
  4    things like this, but they are abnormal. The           4      Q You don't need to explain them. I just
  5    average is probably 25 to 30 pounds. One pound a       5   want to know what the rules are.
  6    day. Almost one pound a day. Not everybody.            6      A Sorry. No coffee. No dairy of any type.
  7    Almost one pound a day. And they maintain this for     7   No dairy, including cheeses. No dairy.
  8    a month, for two months and so on. So the average      8      Q Okay.
  9    weight reduction in the group, probably 25 pounds a    9      A No greasy food. No greasy food. Anything
 10    month. At least, at least, at least twice as much     10   that is oily, greasy, fried, no. Your first food
 11    as the surgery; at least.                             11   intake is four hours from the time you wake up.
 12        Q What sort of information other than the         12   Your last food intake is four hours before you fall
 13    information people are telling you through Facebook   13   asleep. My trick for the --
 14    does Muscular Obesity collect in any kind of          14      Q Those are the rules?
 15    systematic way about the starting and ongoing and     15      A Yes. Must exercise; you must.
 16    end point weights of the people providing this        16      Q How much?
 17    information?                                          17      A What?
 18        A We cannot force us to give them                 18      Q How much exercise?
 19    information. If they want -- if they are in the       19      A How much? As much as I want to see
 20    group, they volunteer the information. Those that     20   consistency. And in exercise we have three types.
 21    don't want to be part of volunteering information     21   The best is dancing with youngsters in front of the
 22    are not there. I cannot collect -- everybody's        22   TV, because it's activity. Let's not get into that.
 23    participating in the early stages. Those that         23      Q Sure.
 24    normally achieve a 40-pound weight reduction, 50,     24      A Dancing. Then you have the gym. And
 25    tend to disappear from the group because they got     25   jogging is not good for them, because of the

                                                      554                                                         556
  1    what they wanted from the group and they start         1   pressure on the joints. But they must do it. And
  2    disappearing. They come back and suddenly, hey, I      2   if somebody tells me, I exercised, I don't approve
  3    lost 80 pounds. Hey, I lost 90 pounds. But they        3   the post. Unless I know that it's consistent four
  4    are not part --                                        4   days a week. That's what's important. And if
  5       Q What effort, if any, is there being made          5   somebody will say, I have a stand still in my weight
  6    to collect and analyze the information that is         6   reduction and they don't -- they must show that they
  7    received?                                              7   exercised for example. So exercising is a must.
  8       A I cannot send them a message and tell them        8          Then the next thing, they cannot eat
  9    how much you lost.                                     9   pastry, like pasta, bread. They are limited to 10
 10       Q I'm asking what information you are              10   slices of bread a week. Pasta I think two or three
 11    gathering. Is it being kept and is it being           11   times. The next thing, no soda of any kind. No
 12    analyzed?                                             12   bubbly things because it doesn't interact well. It
 13       A The group. Just the Facebook group.              13   doesn't interact well with our -- they need to
 14       Q Let me ask you to turn to -- before we get       14   maintain less than 1,200 calories a day. Most of
 15    there, I had a couple of other questions about some   15   them are doing 800 to 1,000. So less than 1,200 a
 16    earlier testimony which you mentioned the rules.      16   day. Three liters of water. At least six bottles
 17    What are you referring to by the rules?               17   of water a day. And I think that's it.
 18       A Is he married?                                   18       Q What are the instructions that you
 19       Q I'm asking about the rules that you              19   referred to?
 20    referred to in the --                                 20       A Instructions is prepare your morning dose
 21       A That's the first thing that comes to my          21   the night before. It must be refrigerated, number
 22    mind.                                                 22   one. You consume as much as you can in the morning.
 23       Q It's a long day. I understand.                   23   The morning dose you consume as much as you can and
 24           Are you referring to some sort of rules        24   then you take two more spoons. Two hours later you
 25    associated with Roca Labs?                            25   will take the red pill, the yellow pill together.


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                                                       557                                                     559
  1    Four hours from the time you woke up you will eat       1   to the Facebook group Lost 100; is that correct?
  2    your first meal. Oh, I'm sorry. I must jump back        2       A Yes.
  3    to the rules. When you eat, you take a very             3       Q And you referred also to the pills. What
  4    measured proportion in front of you. You cannot go      4   are the pills?
  5    to a buffet. It must be measured. You will take a       5       A There is a red pill. And we call it
  6    small bite. You will chew for 20 seconds. You will      6   reinforcement of the morning dose.
  7    put your fork and knife and you will wait for 30        7       Q What's in it? What are the ingredients?
  8    seconds before the next bite. After eight, nine         8       A Can we go again.
  9    bites, check and see if you're really full. By the      9           MR. SETTLEMYER: We can be on the
 10    way, this is another scientific thing. So, again,      10       confidential record, yes.
 11    eating slowly let's call it. Back to the               11           (Thereupon, the NON-CONFIDENTIAL portion
 12    instructions.                                          12       of the transcript ended.)
 13            Two hours later after you ate your first       13   ///
 14    meal, you will take the anti-cravings drink. Two       14   ///
 15    hours later you will take again the yellow and the     15   ///
 16    red pill. Two hours later you will take one more       16
 17    anti-cravings. And then you will take the              17
 18    remainders of the morning dose which you did not       18
 19    finish in the morning. And then it's already four      19
 20    hours before bedtime. It's not bedtime. It's the       20
 21    time you fall asleep. Because a lot of people go to    21
 22    bed earlier. So they have a lot of rules to follow,    22
 23    a lot of rules. Like most of the them will tell you    23
 24    it is a lifestyle. They changing their lifestyle.      24
 25    They cannot just take a pill and think it's magic.     25

                                                       558                                                     560
  1    And if somebody would come to the group, and say,      C
  2    does it work? I say, no, it doesn't work. The          O
  3    regimen without your determination is worthless.       N
  4    That's what I called the regimen. It's worthless.      F
  5    Save your money. If you're not determined, save        I
  6    your money.                                            D
  7        Q You mentioned just a moment ago that under       E
  8    certain circumstances, and you gave an example of      N
  9    somebody talking about an exercise level, that you     T
 10    don't approve the post. Are you talking about posts    I
 11    to the Facebook group?                                 A
 12        A Yes. We approve only maybe less than half        L
 13    the posts, a third of the posts. If somebody posts,
 14    I lost a lot of weight, I want proof. I want to see
 15    the scale and other people will challenge them.
 16    There are some things I would look at it, and I
 17    said, we don't approve it. And we wait for two
 18    weeks until the person corresponds with us and we
 19    identify them in the system. The person needs to be
 20    identified in our system to see that it's a real
 21    person. We check on them. We double-check on them.
 22    We don't allow posts that are -- they must be
 23    inspirational and educational.
 24        Q But in other words, you or someone working
 25    for Muscular Obesity will approve or disprove a post


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                                          565                                                         567



      Redacted
  1                                               1          (Thereupon, the NON-CONFIDENTIAL portion
  2                                               2      of the transcript continued as follows:)
  3                                               3   DIRECT EXAMINATION BY MR. SETTLEMYER:
  4                                               4      Q So we just discussed a small procedural
  5                                               5   thing we're going to do here. I'm going to try to
  6                                               6   finish my primary line of questioning and get
  7                                               7   responses from Mr. Juravin. And Ms. Marteny will
  8                                               8   then after I'm completed do additional questioning
  9                                               9   to which I may have further questions. But at a
 10                                              10   certain point we'll stop that. And time permitting,
 11                                              11   Mr. Davis and I will try to look at documents that
 12                                              12   have been produced to us and may want to come back
 13                                              13   on the record to ask some follow-up questions about
 14                                              14   those to the extent we can.
 15                                              15         With that, Mr. Juravin, just to refresh
 16                                              16   your recollection. You remember that of course the
 17                                              17   FTC sued Roca Labs, and that that was in late
 18                                              18   September of 2015, correct?
 19                                              19      A Yes.
 20                                              20      Q What changes in the products marketing
 21                                              21   operations of Muscular Obesity have taken place
 22                                              22   since September 2015 when the FTC sued the company?
 23                                              23      A The main probably many because I do it
 24                                              24   incrementally day-to-day. I cannot even think about
 25                                              25   major. The major, major thing.

                                          566                                                         568
  1                                               1      Q Yes.
  2
  3
  4
  5
  6
      Redacted                                    2
                                                  3
                                                  4
                                                  5
                                                  6
                                                         A That I don't have to answer people anymore
                                                      because people are talking.
                                                         Q Give me an overview of not necessarily
                                                      each incremental step in the changes, but the
                                                      overall state of -- what is the company currently
  7                                               7   doing that's different than what it did when the FTC
  8                                               8   sued?
  9                                               9      A Before somebody will come and ask us, "I'm
 10                                              10   diabetic, can I use it?" The answer would be we are
 11                                              11   not -- we cannot give you medical advice, but there
 12                                              12   are many diabetics using the regimen successfully,
 13                                              13   and we would leave it as that. If you need more
 14                                              14   information, consult your doctor. And I know that
 15    ///                                       15   the regimen is excellent. Not good, excellent for
 16    ///                                       16   diabetes. But I cannot tell them that because I'm
 17                                              17   not a doctor and I don't know their situation.
 18                                              18   Today they just talk to each other. Today they just
 19                                              19   go on the Facebook and they just talk to each other.
 20                                              20   If we want or if we don't want. They just talk to
 21                                              21   each other. So we don't have to give answers to
 22                                              22   anybody.
 23                                              23      Q Who do you mean by they just to clarify?
 24                                              24      A The members of the group.
 25                                              25      Q And you believe all the members of the


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  1    group were users --                                     1   is necessary. Just tell your story. So there are
  2        A No.                                               2   two people that take $50. Just talk to people.
  3        Q -- of the product? No?                            3       Q Who are those two people?
  4        A No. Some of them users. Some of them              4       A One is Jessica and the other one is
  5    want to be users.                                       5   Suzanne. So Jessica and Suzanne -- there is no
  6        Q So perspective --                                 6   hours. There is no monitoring. There is nothing.
  7        A Users and perspective users.                      7   What is help? What is help? If somebody comes to
  8        Q They interact?                                    8   us and says, how do I use it, or I don't know how to
  9        A Yes.                                              9   use it in the morning, or how much should I take in
 10        Q And the users include people who are just        10   the morning. They're job is to say, don't dare
 11    other customers who are not being paid by Roca Labs?   11   asking in the group. It shows that you are not
 12        A We don't need paid people.                       12   committed. Go to slash ingredients or slash -- I'm
 13        Q I'm just asking a question. They're users        13   sorry, slash instructions. That's their job. Not
 14    who are not being paid by Roca Labs?                   14   to promote; not to sell; no nothing. Just to help
 15        A I know where you're going with it. I'll          15   by directing them. Go to your hub; go here. They
 16    make it clear. The group has active users of the       16   already know that people are asking some stupid
 17    regimen and has people that want to buy the regimen.   17   questions. Stupid -- the definition of stupid is
 18    Either they don't have the money or they want to be    18   you could have found it on your own in the hub.
 19    still convinced. When somebody is successful, let's    19   Don't bother 13,000 people with your question.
 20    say not just losing their weight, but they are         20   Okay. So what they do, they direct to the site.
 21    successful with reversing their diabetes. Because      21   That's all they do.
 22    we have people that were cured. The use is not         22       Q Have there been any changes to the
 23    cured. It was reversed. They were reversed. They       23   products that Muscular Obesity is selling since the
 24    were at 400 and now they're at 100. Then they tell     24   lawsuit was filed?
 25    us, I stopped using insulin because of the gastric     25       A I don't know if we had the right pill. I

                                                       570                                                         572
  1    bypass alternative regimen. So they do a post. We       1   don't remember.
  2    approve the post. And then other diabetes people        2       Q Okay.
  3    talk to each other. They just talk to each other.       3       A I think we did. We added the yellow pill.
  4    We don't have to say anything. If they ask us, we       4   And lately we added another one called white pill.
  5    say we cannot give you an answer because we are not     5   Just we testing it. It's for stress and better
  6    doctors.                                                6   sleeping.
  7           Now what happened with time is that there        7       Q What are the ingredients of the white
  8    is so much activity, so much help is needed, that I     8   pill?
  9    approached one or two people, a couple of people,       9       A I think it's already on the web. I didn't
 10    and I said, listen, you help in the group. They        10   release it to everybody. What I first did, I gave
 11    help anyway each other. They help. They talk and       11   it to 10 people. They used it. The results were
 12    they help and stuff. But I said, what about if you     12   excellent. And then I allowed another 100 people to
 13    devote a few more hours. Here is $50 a week. Just      13   use it. So it's not really widely spread right now,
 14    continue to do whatever it is that you do. I don't     14   but the ingredients are already up.
 15    even know what they do. I don't know what they do,     15       Q Do you recall what the ingredients are?
 16    what they say. There is no agreement. There is no      16       A If I will tell you, it will not sound
 17    conditions. There is nothing. Take $50. But when       17   right; the spelling. We will waste time on
 18    people are asking or something, just put whatever it   18   spelling.
 19    is that you normally do, just continue to do. In a     19       Q But it's on the gastric.care website?
 20    way, by the way, it's no different than other people   20       A Yes.
 21    that were working on a payroll in quotations were      21       Q What's the purpose of the white pill?
 22    doing. Because what I told Roxy is just take money     22       A Stress and sleep.
 23    just to talk to people. Just talk from your            23       Q Has there been any change in the marketing
 24    experience. Roxy for example was not allowed to        24   channels that MCO has used since the lawsuit was
 25    sell. Nobody was allowed to sell. Okay. No sales       25   filed?


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  1         A For some reason we stop selling to the          1       A When you say live chat, you mean talking
  2    Gulf country; the Gulf. We used to sell to             2   to them?
  3    hospitals in the Gulf countries.                       3       Q Well, there's the chat with the text,
  4         Q You're talking about in Saudia Arabia           4   right, that's one thing?
  5    Gulf?                                                  5       A And then --
  6         A South Arabia, Qatar. The four rich Arab         6       Q What else are you doing?
  7    countries in the Middle East. We used to sell much     7       A Video.
  8    more over there and to hospitals, two or three         8       Q You do video?
  9    hospitals that use it again and again. We stopped      9       A I do video. It's being recorded and then
 10    selling there. We just simply don't put the efforts   10   thousands watch it.
 11    into the Arab.                                        11       Q So it's like a Facebook live video?
 12         Q So those are the markets. I'm talking          12       A Which later becomes a video that people
 13    about the marketing channels in terms of are you --   13   re-watch and re-watch and re-watch.
 14    say for example are you still using Google search     14       Q So you leave that up on the --
 15    ads?                                                  15       A Yes.
 16         A Google blocked us long ago.                    16       Q The Lost 100 site?
 17         Q So the answer is no, right?                    17       A Yes.
 18         A Yeah, long ago.                                18       Q Group site?
 19         Q Are you using Bing still to advertise?         19       A Yes.
 20         A Very little.                                   20       Q Now is the Lost 100 group a public group?
 21         Q What about Yahoo?                              21       A Public.
 22         A It's the same all of this, Bing, Yahoo.        22       Q So anybody who's a Facebook user could log
 23         Q I'm trying to break them out?                  23   into Facebook and be able to go to that group and
 24         A No. We don't -- what we use is very            24   see the communications back and forth; is that
 25    little Facebook. I don't have the money. So I'm       25   correct?

                                                      574                                                         576
   1    forced to do much more social. I just don't have      1       A Yes, you can do it. But if you want to be
   2    the money to do it.                                   2   a -- if you want to be a member, you need to ask
   3       Q Is that primarily Facebook?                      3   permission. But I don't really need. If you just
   4       A Facebook.                                        4   want to check what we are doing, if you want to
   5       Q Would you say you've increased the use of        5   check what we are doing, you don't have to be a
   6    Facebook since the lawsuit was filed?                 6   member. You can just see. But if you want to check
   7       A I'm saying we don't have the money to            7   if people are real. If people say, I lost five
   8    advertise. So we're doing social and a little bit     8   pounds in two days. If you want to check if they
   9    advertisement on Facebook.                            9   are real, you do need to be a member so you can
  10       Q I'm talking in terms of --                      10   communicate.
  11       A Advertisement.                                  11       Q How does one become a member?
  12       Q In terms of any marketing. So you're just       12       A Just ask I want to be a member. We don't
  13    making greater use of Facebook in general as a       13   really -- we cannot screen people.
  14    company since the lawsuit was filed?                 14       Q In terms of asking to be a member, is that
  15       A Yes.                                            15   just -- what additional capabilities does one have
  16       Q In terms of what you are doing, are you         16   to interact with the group by virtue of becoming a
  17    interacting with customers on Facebook?              17   member? What more can you do?
  18       A As much as I can.                               18       A It's a complex question. You're asking,
  19       Q Perspective customers?                          19   if I'm not a member, you can see everything. If you
  20       A Sometimes 10 hours a day. Sometimes if          20   don't want to interact with people, you don't need
  21    I'm here not, but as much as I can.                  21   to be a member.
  22       Q Are you doing live chat with them, the          22       Q But if you want to interact with people --
  23    customers?                                           23       A You do need to be a member.
  24       A I do more than that.                            24       Q You do need to be a member. Okay.
  25       Q What do you do?                                 25       A We used to check each person. We cannot


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  1    do it anymore because it's so massive. We have          1   from Texas. And you say, yeah, me too. They text
  2    14,000 right now I think. We kicked out about 2,000     2   message behind -- they don't need us.
  3    people that were kicking out, because people that       3       Q So in theory they could Messenger each
  4    are asking questions about instructions; that they      4   other through Facebook?
  5    need to read alone and things like that or don't        5       A Not in theory. They do it all day.
  6    respect the house rules. But overall it's called a      6       Q But they could not post a comment within
  7    boot camp and I'm handling it as a boot camp.           7   the group?
  8        Q In addition to moderating the comments,           8       A You got it.
  9    you also moderate the membership; is that correct?      9       Q Correct?
 10        A No, anybody can be.                              10       A You got it.
 11        Q But you kick people out you say?                 11       Q That other group members could see --
 12        A Based on the comments.                           12       A You got it.
 13        Q But what I mean is --                            13       Q -- unless they're a member?
 14        A I can block.                                     14       A You got it.
 15        Q You can grant a membership or deny               15       Q Okay. Thank you.
 16    membership; is that correct?                           16          Who are the -- have there been any changes
 17        A Yes. Everybody almost is accepted. But           17   in terms of the ingredients of the formula since the
 18    if somebody is suddenly doing things that are not to   18   lawsuit?
 19    the benefit of the group achieving a healthy weight,   19       A You cannot say formula because we have
 20    they'll be kicked out. If somebody will say, yeah,     20   about six or seven variations. Okay.
 21    one coffee a day is no big deal; bang, out.            21       Q All right.
 22        Q Do you have a list have written rules for        22       A Because people buy different -- okay.
 23    what would get people kicked out of the membership?    23   People buy custom, premium, basic, advanced. Before
 24        A I think it's part of the files. There is         24   you guys sued us, we had enough volume of business
 25    a section called files. For some reason everybody      25   to really provide three or maybe four different

                                                       578                                                         580
  1    knows it.                                               1   strength of formulas, okay, and really provide them
  2       Q By section you mean in the group page?             2   according to what they paid. After you guys sued
  3       A Yes. It's called files. It's called,               3   us, our volume went down so much that I'm forced to
  4    "Democracy, Not In My Group".                           4   use probably the top one, okay, the most expensive
  5       Q In terms of the perspective customer --            5   one, and give it to others without telling them.
  6       A I'm sorry. Yes, there are rules. When a            6          So, in other words, if somebody buys
  7    new member comes, if they approach, we send them        7   basic. Okay. This is number four, three, two and
  8    something that says welcome to the boot camp.           8   one. Basic on the bottom. Not basic, but advanced.
  9       Q And then there's that message has the              9   They would probably get what this guy is getting.
 10    rules of that group; is that correct?                  10       Q In the premium category?
 11       A It's mainly my group. It's mainly my              11       A Yeah. They will get on the top because I
 12    rules, yes.                                            12   don't have a choice. I cannot do them -- I cannot
 13       Q But that's what you would communicate to          13   do like 12,000 production, you know. So I'm forced
 14    people?                                                14   to chose one of them. So basically we are losing
 15       A Yes.                                              15   more money if somebody is choosing to buy only
 16       Q That's where the rules are at least               16   advanced instead of premium.
 17    initially communicated; is that correct?               17       Q Let me ask this. Have there been any --
 18       A Yes.                                              18   so it sounds like there have been reductions in the
 19       Q And then if a perspective customer who's          19   number of different formula options that are
 20    not a member wants to ask a question of somebody       20   available?
 21    who's in the group, does the person who wants to ask   21       A To us behind the scenes.
 22    the question have to become a member?                  22       Q But in terms of the formulas that are now
 23       A Tricky question. I don't think so. You            23   available, they are essentially the same as the ones
 24    don't have to necessarily. Because if you see a        24   that were available before?
 25    person that says, yeah, I lost five pounds and I'm     25       A Pretty much with a little bit


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  1    improvements. Like I decide, okay, we will lower        1   done answering all the information -- it's lengthier
  2    the L-Carnitine, one of the ingredients. We would       2   than before. I'll ask you how many pastries do you
  3    lower it a little. We did another trick. I'm            3   eat a week; how many sodas; how many pizza; how many
  4    sorry. I don't know any other word. Trick means         4   this; how many that. And then I give you a list and
  5    that it's something to shorten. I don't have any        5   I say, listen, you have 8.2 pounds a month of
  6    other word in English to know that. But trick is        6   cravings that you can cut. 2.8 is from Coke. Okay.
  7    just not to make money off somebody. It's just to       7   1.2 from pizza. And the donuts are 2.2. And I will
  8    make it shorter. So we did another thing. From now      8   make you aware of all of that. I will tell you how
  9    on when somebody orders -- not from now. A year ago     9   many calories you do need to eat a day in order to
 10    almost. They get it almost like a prescription.        10   not gain weight.
 11    Each regimen gets its own -- a name of the person.     11       Q So is the weight analysis something that's
 12    A personalized label with their goals, weight          12   done prior to purchase?
 13    reduction goals. Because we want them to look at it    13       A Yes.
 14    very personal. We want them to look at it like a       14       Q Okay. And it's done from the perspective
 15    prescription. We want them to look at it like, wow,    15   customer entering information online, correct?
 16    it's made for me. Again, I will do everything          16       A Yes.
 17    possible, everything that I can imagine to make sure   17       Q And how is the weight analysis that's
 18    that they take it very, very, very seriously. Just     18   performed for them communicated to them? Is that
 19    for the same reason that Brian was wearing a white     19   done online or --
 20    robe.                                                  20       A Online. As soon as they are done entering
 21         Q Brian the man who appeared in the lab coat      21   the information, they see -- we call it results
 22    videos?                                                22   page.
 23        A Yes. Everything possible. Because in my          23       Q Okay. So it will be a page that's
 24    mind there is no difference between a white coat or    24   displayed on the web?
 25    putting colors in your web that look serious or        25       A The results.

                                                       582                                                         584
  1    changing the font to look like CNN fonts. There is      1       Q Not a separate message?
  2    no difference. You're trying to look serious in         2       A Correct.
  3    front of the customer.                                  3       Q In terms of --
  4            So the same thing that I did. We did            4       A I need to correct myself on something.
  5    labeling. Each product is labeled. So when they         5       Q Go ahead.
  6    show it later on Facebook or something, they have       6       A Yesterday you asked me if the -- and I
  7    their name. They have their goals. They know that       7   kind of -- I didn't know what to answer you. You
  8    it's personalized. And by the way, our systems do       8   said, okay, when somebody -- terms. Are they really
  9    personalize it. In other words, we will give            9   forced to read the terms when they do the V.
 10    sometimes more anti-cravings if we see that you a      10       Q When they click check box?
 11    problem with anti-cravings.                            11       A Check box. I said, no, they're not
 12            Another thing we didn't do since the           12   forced. But I forgot to tell you that they get an
 13    lawsuit is the weight analysis. It's a big deal.       13   e-mail and they got an e-mail all along with
 14    Part of my psychology is I'm saying you eat a lot      14   everything, with all the terms. So they see it.
 15    and you get overweight because you don't pay           15   It's in their e-mail. They have a chance to cancel
 16    attention to the label. You don't understand how       16   from the e-mail. They can cancel in the hub and
 17    many calories here. But if I will tell you and I'll    17   just say, I don't want the deal. Another way that
 18    make you conscious of it, maybe you will change your   18   they can cancel, if they don't open the package. On
 19    way.                                                   19   the package they say, do not open this package if
 20        Q Describe for me what you mean by the             20   you don't agree to the terms.
 21    weight analysis. Is this something that is done        21       Q And it said that on the tape for the
 22    when you're getting perspective customers entering     22   package, correct?
 23    information in order to purchase the product?          23       A Tape.
 24         A Yes, but that's the qualification. The          24       Q But the e-mail that would come with the
 25    weight analysis is that I'll basically when you are    25   terms came after the person had entered their


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  1    purchase information, correct?                        1   packing your, you know, checking, I'll think about
  2         A And they can cancel.                           2   it.
  3        Q But it's correct that it was post purchase      3       Q Let me ask this. So Mac is located in
  4    that e-mail came, correct?                            4   Pakistan; is that correct?
  5         A Yes.                                           5       A Yes.
  6        Q How long do they have to cancel?                6       Q And Priscilla is located in the U.S.?
  7         A I think less than a day. Less than a day.      7       A In Orlando.
  8    They can cancel and forget about it.                  8       Q Sean is located in the U.S.?
  9        Q Would you say it was a couple of hours?         9       A Orlando.
 10         A No. No, no, no, no. No. I think now           10       Q Orlando. And who is the person, Jessica?
 11    it's about eight hours and before no. Two hours is   11       A Sonya.
 12    nothing. And even let's say we produced it, and      12       Q Sonya who's working with --
 13    somebody says I want to cancel or something, we      13       A Orlando.
 14    wouldn't mess with it. We wouldn't mess because we   14       Q So is there anybody else working in the US
 15    would lose on the dispute. We would lose on the      15   aside from those folks and you?
 16    dispute.                                             16       A No. Who works and who left, no. And the
 17        Q Let's turn back to the current operations.     17   two people that I told you that they get $50 a week,
 18    And I think we're getting close to being done.       18   they just direct people go to the hub; go to the
 19         A By the way, every time that somebody          19   instructions; go here. No terms, no hours, no
 20    cancels before they open the package and they tell   20   nothing, just whatever they want.
 21    the PayPal, I didn't even open. It doesn't matter    21       Q Do you know where they're based
 22    what we write in the terms. We would lose. From      22   geographically?
 23    the very beginning Sharon knows take the money.      23       A Out of their laptop. I don't know what
 24        Q Who are the current personnel working for      24   state, what country.
 25    Muscular Obesity aside from yourself?                25       Q Is there anyone else in the U.S. who's

                                                      586                                                        588
  1        A Anna is managing the warehouse. She works       1   working with Muscular Obesity?
  2    with one more person. Her name is Sonya. Then         2      A It doesn't come to my mind. But when you
  3    there is Priscilla and Sean.                          3   guys do your stuff, I'll think.
  4        Q Who is Sean?                                    4      Q And then what's the basis for compensation
  5        A He's doing what Priscilla is doing. She's       5   for the people working for Roca Labs other than
  6    just doing support. And then just Mac, he's my        6   yourself? Is it an hourly?
  7    programmer, and myself.                               7      A Hourly.
  8        Q When did Priscilla start to work with           8      Q Nobody is working on commission?
  9    Muscular Obesity?                                     9      A I don't think we ever had somebody on
 10        A July, August last year maybe. I don't          10   commission. I had a thought a couple of times in
 11    remember exactly.                                    11   the last eight years about it. But I don't think it
 12        Q When did Sean start to work with Muscular      12   ever consummate ever, you know.
 13    Obesity?                                             13      Q So now working for MCO is working on
 14        A Really a few months ago.                       14   commission; is that correct?
 15        Q Is there anyone else who's doing any work      15      A No. We don't need to sell. We don't
 16    for Muscular Obesity at the moment?                  16   push. We don't need to sell. We don't need to
 17        A I cannot think right now. I don't know         17   push.
 18    why. I drew a blank.                                 18      Q But the answer is no?
 19        Q Has there been anybody working previously      19      A No.
 20    for Muscular Obesity who's left in the past couple   20      Q These individuals other than yourself are
 21    of months?                                           21   working and I guess Anna, who is your wife, are
 22        A Somebody that was working with us that         22   working pursuant to independent contractor
 23    left in the last couple of months? No. Everything    23   agreements?
 24    is kind of -- everything is on low. We don't have    24      A Wife and boss.
 25    too much of activities. While you're doing your      25      Q Huh?


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  1    that correct?                                          1   bringing any business or anything like it.
  2        A Yes, yes, yes. I confused with lending           2      Q Is there a Pintrest page?
  3    site.                                                  3      A Maybe, but nothing that we really promote,
  4           MR. DAVIS: So the yeses and nos aren't          4   add or do something with it or care for.
  5        clear.                                             5      Q Are there any ongoing search engine
  6           THE WITNESS: I'm sorry. There is no             6   optimization activities that you're aware of for
  7        other place to buy it other than gastric.care.     7   Roca Labs?
  8    BY MR. SETTLEMYER:                                     8      A We don't have the budget. We don't have
  9        Q Are there places other than rocalabs.com         9   the time, nothing.
 10    and gastric.care that MCO uses to advertise the       10      Q So the answer is no?
 11    product?                                              11      A No. Even when we did it four years ago we
 12        A No.                                             12   were very unsuccessful. So no efforts.
 13        Q I guess you mentioned -- just to be clear,      13      Q Is anybody being compensated to maintain
 14    you mentioned a Facebook page, Lost 100; is that      14   or create any blogs about the products?
 15    correct?                                              15      A Nothing.
 16        A That's a group where people just talk.          16      Q And is anybody being paid to make any
 17        Q Is there a Roca Labs Facebook page or           17   foreign posts about the product?
 18    Gastric Care Facebook page?                           18      A Nothing. We have no need for any of this.
 19        A Yes, there is another page.                     19   Only --
 20    Facebook.com/Lost180.                                 20      Q Only what you're doing?
 21        Q What about YouTube, what's currently up on      21      A Yes.
 22    YouTube now?                                          22      Q You stopped mid sentence.
 23        A We don't use YouTube. It's not active.          23      A Yes.
 24    We don't use it. We don't promote it. We don't        24      Q I want to make sure we got it.
 25    nothing with it.                                      25      A Yes.

                                                      598                                                        600
  1       Q Is it still up? Is there still a Roca             1          MR. SETTLEMYER: I have at this time no
  2    Labs channel?                                          2      further questions except what may later relate
  3       A It's still up. It might be that naturally         3      to what Ms. Marteny will ask or what we can
  4    people go there. But we don't promote. We don't        4      manage to ask in our limited time to ask about
  5    add actively. We don't do anything there. Because      5      the documents that have been produced in the
  6    the group, people add everything on the group.         6      past couple of days. So with that, I have no
  7       Q But I just want to be clear. The Roca             7      further questions at this time.
  8    Labs YouTube page would be a way in which people if    8          MS. MARTENY: Before we get started, I
  9    they were on the page could click through to           9      want to note certain confidential exhibits that
 10    rocalabs.com; is that right?                          10      were introduced today. We'd like to have
 11       A Yes.                                             11      marked as confidential Exhibits 131 through 136
 12       Q So aside from --                                 12      and also Exhibits 142, 143. I think that's
 13       A No. There is no click from YouTube to            13      where we left off.
 14    rocalabs.com.                                         14              CROSS-EXAMINATION
 15       Q Nothing?                                         15   BY MS. MARTENY:
 16       A I don't think. There is no continue to.          16      Q Don, I want to ask you some questions.
 17    No, I don't think so.                                 17   Can you put that aside for a second.
 18       Q And if the -- so aside from the Facebook         18      A Do you want to sit on the other side?
 19    pages we just discussed and the website that you      19      Q No.
 20    mentioned, are there any other web properties that    20      A I'm kidding. Because you start having a
 21    MCO maintains to promote its products?                21   tone like him.
 22       A No. No. The promote the product is only          22      Q So yesterday do you recall talking about
 23    I would say on the Facebook.                          23   some credit card disputes?
 24       Q Is there a Twitter account that MCO uses?        24      A Yes.
 25       A Nothing that is active. Nothing that it's        25      Q And the corporate Defendants' response to


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                                                       613                                                         615
  1        Q But for anybody who's considering it, you         1   unauthorized. If we don't do that, we might lose.
  2    think that the people have decided not to get it        2   They will stop taking money or processing our credit
  3    because of your work with you and your product?         3   cards.
  4        A Big time. Because they will first try the         4       Q What is the source that you're aware of,
  5    regimen. And if they are not successful with the        5   of the information telling you that there's a rule
  6    regimen, they will then go and undergo the surgery.     6   of the credit card processor to get the type of
  7    There are cases like this. Somebody says, hey, I        7   information that you are providing?
  8    want to try the alternative before I will undergo       8           MS. MARTENY: Object to form.
  9    the surgery. I heard before somebody said, I tried      9           THE WITNESS: I need to provide everything
 10    the gastric bypass alternative and it didn't work as   10       possible to show that it's not fraudulent. In
 11    well as I thought. I lost 50 pounds and I got          11       order to do that, I'm showing the IP. But we
 12    stuck; no more; I do need to do the surgery.           12       were told before, IP is not enough. It might
 13    Possible. But they need to first try the               13       be that there a few people in the same room.
 14    alternative before they cut their stomachs.            14       What other form can I prove that I didn't take
 15        Q Let me go back to the discussion of the          15       it fraudulently.
 16    Exhibits 87, 88 and 89 in terms of what you            16   BY MR. SETTLEMYER:
 17    testified. And you can look at those if you want to    17       Q You're not answering my question. My
 18    refresh your recollection. But my question for you     18   question is, what is the source of information from
 19    is not related specifically to the content of the      19   which you understand there to be a rule that
 20    documents, but more to your understanding of the       20   requires you --
 21    process of credit card disputes. Is there a rule       21       A PayPal. When we talk to PayPal. And we
 22    laid out by any credit card processor that requires    22   talk numerous, numerous, numerous times with PayPal.
 23    for a dispute resolution, the merchant to present      23   What do we do with disputes? And the answer is
 24    information such as the height, weight and medical     24   prove in any way that you can. Every way that you
 25    and emotional issues being confronted by a customer?   25   can that it's not fraudulent. Show any unique

                                                       614                                                         616
  1    Is there a regulation; yes or no?                       1   things that will remind the person disputing, the
  2           MS. MARTENY: Object to form.                     2   card holder, that they are wrong and it wasn't
  3           THE WITNESS: Yes.                                3   fraudulent. All of this unique identifiers and
  4    BY MR. SETTLEMYER:                                      4   that's what we do. If we had other unique
  5        Q Yes, there is a regulation?                       5   identifiers, I would use them.
  6        A Yes.                                              6       Q Is there anything in writing that you can
  7        Q What is that regulation?                          7   site that supports what you're understanding of the
  8        A Bring us everything to prove that you             8   rule is?
  9    didn't commit -- that you didn't do a fraudulent        9           MS. MARTENY: Object to form.
 10    act. That's the way that Sharon King heard from        10           THE WITNESS: No, it's talking. We talk
 11    them. That's the way that I know when I talked to      11       to them. Sharon King talked to them. I talked
 12    Adam. Adam is my processing guy. Show them             12       to them. I talked to them numerous times. But
 13    everything you can that you didn't do a fraudulent     13       I can do something. I can maybe ask them
 14    act, and I will do everything that I need to support   14       again, by the way, what else can I provide. If
 15    to show that I didn't do a fraudulent act. I'm         15       I provide everything, is it okay what I
 16    starting with the simple thing. Anybody else in the    16       provide.
 17    world can see. Somebody is six-feet two. Somebody      17           Let me put it differently. No credit
 18    is 370 pounds. Everybody can see that they are way     18       processor ever rejected this information saying
 19    overweight. 18 years old, male. All of these facts     19       to us, sir, this is private, confidential, do
 20    are, you know, there is no privacy here. People        20       not send us anymore. So we have been doing
 21    know that they are 350 or 400. Nothing private         21       this for years. Nobody ever rejected it
 22    here. Male; nothing private. And then declaration.     22       saying, we don't want to have this information.
 23    Declaration is a personal thing. And when they see     23       This is too private. Nobody ever told us. And
 24    the declaration, they say, I do remember it. I will    24       by the way, no customer says, do not reveal it
 25    withdrawal my accusation of fraudulent and             25       or what you did is not okay. And something


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